Final Draft

POST-PETITION LETTER OF CREDIT FACILITY AGREEMENT
dated as of
| ], 2010
among
THE FINANCIAL ]NSTITUTIONS FROM TIME TO TIME PARTY HERETO,
as Letter of Credit Issuers
BANK OF AMERICA, N.A.
as the Agent
and

W. R. GRACE & CO.-CONN.,
as the Account Party

CH\1135197.13 029123-0013

 

 

 

 

 

 

TABLE OF CONTENTS
Article Page
ARTICLE 1 LETTER OF CREDIT FACILITY 1
1.1 Total Facility ................................................................................................................................ 1
1.2 Letters of Credit. .......................................................................................................................... 2
1.3 Section 364(€)(1) Superpriority Administrative Claim and Sections 364(0)(2) and Section
364(0)(3) Liens and Security Interests ...................................................................................................... 5
1.4 Grant of Lien in Cash Collateral Accounts. ................................................................................. 5
1.5 Bank Products .............................................................................................................................. 6
ARTICLE 2 INTEREST AND FEES 6
2.1 Interest. ........................................................................................................................................ 6
2.2 Maximum lnterest Rate ................................................................................................................ 7
2.3 Facility Fee; Administration Fee ................................................................................................. 7
2.4 Unused Line Fee .......................................................................................................................... 7
2.5 Letter of Credit Fee ...................................................................................................................... 7
ARTICLE 3 TERMINATION AND PAYMENTS 8
3.1 Termination of Facility ................................................................................................................ 8
3 .2 Payments by the Account Party. .................................................................................................. 8
3.3 Appor“cionment, Application and Reversal of Payments .............................................................. 8
3.4 Indemnity for Returned Payments ............................................................................................... 9
3.5 Agent’s and Letter of Credit Issuers’ Books and Records; Monthly Statements ......................... 9
ARTICLE 4 TAXES, YIELD PROTECTION AND ILLEGALITY 10
4.1 Taxes. ......................................................................................................................................... 10
4.2 Increased Costs. ......................................................................................................................... 11
4.3 Certiflcates of Agent .................................................................................................................. 11
4.4 Withholding Tax. ....................................................................................................................... 11
4.5 Survival ...................................................................................................................................... 12
ARTICLE 5 ...... 12
5.1 Financial Information ................................................................................................................. 12
5.2 Notices to the Letter of Credit Issuers ....................................................................................... 14
5 .3 Bankruptcy Case ........................................................................................................................ 14
ARTICLE 6 GENERAL WARRANTIES AND REPRESENTATIONS 14
6.1 Authorization, Validity, and Enforceability of this Agreement and the Letter of Credit
Documents .............................................................................................................................................. 14
6.2 Validity and Priority of Security Interest ................................................................................... 15
6.3 Account Party’s Organization and Qualif`lcation ....................................................................... 15
6.4 Litigation .................................................................................................................................... 1 5
6.5 Regulated Entities ...................................................................................................................... 15
6.6 Use of Proceeds; Margin Regulations ........................................................................................ 15
6.7 Full Disclosure ........................................................................................................................... 16
6.8 Governmental Authorization ..................................................................................................... 16
ARTICLE 7 AFFIRMATIVE AND NEGATIVE COVENANTS 16

 

CH\1135197.13 029123-0013

' 1-~4~”1`.`#:_'."1"` 4 4

 

 

 

 

 

 

7.1 Legal Existence and Good Standing .......................................................................................... 16
7.2 Compliance With Law and Agreements ..................................................................................... 16
7.3 Mergers and Consolidations ...................................................................................................... 16
7.4 Use of Proceeds ......................................................................................................................... 17
7.5 Funding of Cash C011ateral Accounts. ....................................................................................... 17
7.6 Further Assurances ..................................................................................................................... 18
ARTICLE 8 CONDITIONS TO ISSUANCE 18
8.1 Conditions Precedent to Issuance of lnitial Letter of Credit ...................................................... 18
8.2 Conditions Precedent to Each Issuance ..................................................................................... 19
ARTICLE 9 DEFAULT; REMEDIES 20
9.1 Events of Default ....................................................................................................................... 20
9.2 Remedies .................................................................................................................................... 22
ARTICLE 10 TERM AND TERMINATION 23
10.1 Term and Termination ............................................................................................................... 23
ARTICLE 11 AMENDMENTS; WAIVERs; ASSIGNMENTS; SUCCESSORS ............................... 23
11.1 Amendments and Waivers. ........................................................................................................ 23
1 1 .2 Assignments ............................................................................................................................... 24
ARTICLE 12 THE AGENT 26
12.1 Appointment and Authorization ................................................................................................ 26
12.2 Delegation of Duties .................................................................................................................. 26
12.3 Liability of Agent ....................................................................................................................... 26
12.4 Reliance by Agent ...................................................................................................................... 27
12.5 Notice of Default ........................................................................................................................ 27
12.6 Credit Decision .......................................................................................................................... 27
12,7 Indemnif`lcation .......................................................................................................................... 28
12.8 Agent in Individual Capacity ..................................................................................................... 28
12.9 Successor Agent ......................................................................................................................... 28
12. 10 Withholding Tax. ....................................................................................................................... 29
12.11 Restrictions on Actions by Letter of Credit Issuers; Sharing of Payments. ............................... 29
12. 12 Payments by Agent to Letter of Credit Issuers .......................................................................... 30
12. 13 Letter of Credit Issuers’ F ailure to Perform ............................................................................... 30
12. 14 Relation Among Letter of Credit Issuers ................................................................................... 30
ARTICLE 13 MISCELLANEOUS 30
13.1 No Waivers; Cumulative Remedies ........................................................................................... 30
13 .2 Severability ................................................................................................................................ 31
13.3 Governing Law; Choice of Forum; Service of Process. ............................................................ 31
13.4 WAIVER OF JURY TRIAL ...................................................................................................... 32
13.5 Survival of Representations and Warranties .............................................................................. 32
13.6 Other Security and Guaranties ................................................................................................... 32
13.7 Fees and Expenses ..................................................................................................................... 32
13 .8 Notices ....................................................................................................................................... 33
13.9 Waiver of Notices ...................................................................................................................... 34
13. 10 Binding Effect ............................................................................................................................ 34
13.11 Indemnity of the Agent and the Letter of Credit lssuers by the Account Party. ........................ 34
13.12 Limitation of Liability ................................................................................................................ 35
2

CH\1135197.13 029123-0013

~ -~4. 4 ::4- ~ »~:~:-::.r-:r::-r~.-.~v-.-» -*-: ~

 

13. 13 Final Agreement ........................................................................................................................ 35

13. 14 Counterparts ............................................................................................................................... 3 5
13. 15 Captions ..................................................................................................................................... 35
13. 16 Right of Setoff ........................................................................................................................... 36
13. 17 Confidentiality. .......................................................................................................................... 36
13.18 Conflicts with Other Letter of Credit Docurnents ...................................................................... 37

ANNEXES, EXHIBITS AND SCHEDULES

 

ANNEX A - DEFINED TERMS
EXHIBIT A - FORM OF FAClLITY ORDER
EXHIBIT B - FORM OF ASSIGNMENT AND ACCEPTANCE AGREEMENT
EXHIBIT C - EXISTING LETTERS OF CREDIT
SCHEDULE 1.1 - LETTER OF CREDIT IS SUERS’ COMMITMENTS
SCHEDULE 6.4 - LITIGATION; JUDGMENTS
3
CH\1135197.13 029123-0013

¢¢¢:w`~'r=m’r' '

 

POST-PETITION LETTER OF CREDIT FACILITY AGREEMENT

This Post-Petition Letter of` Credit Facility Agreement, dated as of | |, 2010, among the
financial institutions from time to time parties hereto (such financial institutions, together with their
respective successors and assigns, are referred to hereinafter each individually as a “Letter of Credit
Issuer” and collectively as the “Letter of Credit Issuers”), Bank of America, N.A., as agent for the Letter
of Credit Issuers and the other holders of Obligations (in its capacity as agent, the “Agent”), W. R. Grace
& Co.-Conn., a Connecticut corporation, a debtor and a debtor-in-possession under Chapter 11 of the
Bankruptcy Code (as defined below) (the “Account Pagy”).

WHEREAS, the Account Party is a debtor and debtor-in-possession in a case pending under
chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”), has requested the Letter of Credit Issuers to
make available to the Account Party a letter of credit facility in an amount not to exceed $100,000,000,
and which extensions of credit the Account Party will use f`or the purposes permitted hereunder;

WI-IEREAS, capitalized terms used in this Agreement and not otherwise defined herein shall have
the meanings ascribed thereto in Annex A, which is attached hereto and incorporated herein; the rules of
construction contained therein shall govern the interpretation of this Agreement, and all Annexes,
Exhibits and Schedules attached hereto are incorporated herein by reference;

WHEREAS, the Letter of Credit Issuers have agreed to make available to the Account Party a
letter of` credit facility upon the terms and conditions set forth in this Agreement;

WHEREAS, the Account Party has continued in possession of its assets and in the management
of its business as debtor-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code;

WHEREAS, to provide security for the repayment of the letters of credit made available pursuant
hereto and payment of the other obligations of the Account Party under the Letter of Credit Documents
and the Swap Documents, the Account Party has agreed to provide the Agent, for the benefit of the
Agent, the Letter of Credit Issuers and the Bank and its Affiliates (upon and after the entry of the Facility
Order) with respect to the obligations of the Account Party hereunder and under the other Letter of Credit
Documents and the Swap Documents, an allowed superpriority administrative expense claim in the
Bankruptcy Case pursuant to section 364(c)(1) of the Bankruptcy Code having priority over all
administrative expenses of the kind specified in, or arising or ordered under, any sections of the
Bankruptcy Code, including without limitation, sections 503(b), 105, 326, 328, 330, 331, 506(c), 507(a),
507(b), 546(0), 726 or 1112 of the Bankruptcy Code and liens and security interests with priority under
section 364(c)(2) and section 364(c)(3) of the Bankruptcy Code;

NOW, THEREFORE, in consideration of the mutual conditions and agreements set forth in this
Agreement, and for good and valuable consideration, the receipt of which is hereby acknowledged, the
Letter of Credit Issuers, the Agent, and the Account Party hereby agree as follows.

ARTICLE 1
LETTER OF CREDIT FAClLITY
1.1 Total Facili§;. Subject to all of the terms and conditions of this Agreement, the Letter of

Credit Issuers agree to make available a total letter of credit facility of up to $100,000,000 (the “Total
Facilig”) to the Account Party from time to time prior to the Termination Date.

CH\1135197.13 029123~0013

r ~."-:x\-.T.vn-.-r~ 4* 1 ~ 1 ~ t

 

1.2 Letters of Credit.

(a) Ajzreement to Issue or Cause To Issue. Subject to the terms and conditions of
this Agreement, the Agent agrees to cause a Letter of Credit Issuer to issue, and each Letter of Credit
Issuer hereby severally agrees to issue for the account of the Account Party, in an aggregate amount not to
exceed such Letter of Credit Issuer’s Commitment, for the account of the Account Party one or more
commercial/documentary or standby letters of credit (“Letter of Credit”). Letters of Credit may be
requested for the benefit of Other Subsidiaries; provided that the Account Party shall be the account party
with respect thereto (and the fact that such Letters of Credit may be for the benefit of Other Subsidiaries
shall not affect the Account Party’s reimbursement Obligations with respect to such Letters of Credit);
provided further, that the sum of the undrawn face amount of all such Letters of Credit plus all amounts
drawn thereunder for which the Account Party has not been repaid by the Other Subsidiaries shall not
exceed $25,000,000. As of the Closing Date, each of the Existing Letters of Credit shall be deemed to be
Letters of Credit issued pursuant to this Agreement.

(b) Amounts; Outside Expiration Date. The Agent shall not have any obligation to
cause any Letter of Credit to be issued, and no Letter of Credit Issuer shall have any obligation to issue
any Letter of Credit, at any time if: (i) the maximum face amount of the requested Letter of Credit is
greater than the Unused Letter of Credit Amount at such time; (ii) the sum of (x) the maximum amount of
the requested Letter of Credit plus (y) all commissions, fees, and charges due from the Account Party in
connection with the opening thereof would in the aggregate exceed Availability at such time; or (iii) such
Letter of Credit has an expiration date (l) in the case of standby letters of credit, of more than forty-eight
(48) months after the date of issuance (although any such Letter of Credit may provide for automatic
extensions of its expiration date for one or more successive twelve (12)-month periods; provided that the
Letter of Credit Issuer has the right to terminate such Letter of Credit on each such annual expiration date)
and (2) in the case of documentary letters of credit, such Letter of Credit has an expiration date of more
than 180 days from the date of issuance, With respect to any Letter of Credit that contains any
“evergreen” or automatic renewal provision, each applicable Letter of Credit Issuer shall be deemed to
have consented to any such extension or renewal unless any Such Letter of Credit Issuer shall have
provided to the Agent written notice that it declines to consent to any such extension or renewal at least
thirty (30) days prior to the date on which the Letter of Credit Issuer is entitled to decline to extend or
renew the Letter of Credit. If all of the requirements of this Section 1.2 are met and no Default or Event
of Default has occurred and is continuing, no Letter of Credit Issuer shall decline to consent to any such
extension or renewal.

(c) Other Conditions. In addition to the conditions precedent contained in Article 8,
the obligation of the Agent to cause any Letter of Credit to be issued or any Letter of Credit Issuer to
issue any Letter of Credit is subject to the following conditions precedent having been satisfied in a
manner reasonably satisfactory to the Agent:

(l) The Account Party shall have delivered to the applicable Letter of Credit
Issuer, at such times and in such manner as such Letter of Credit Issuer may prescribe, an
application in form and substance satisfactory to such Letter of Credit Issuer and reasonably
satisfactory to the Agent for the issuance of the Letter of Credit and such other documents as may
be required pursuant to the terms thereof, and the form, terms and purpose of the proposed Letter
of Credit shall be reasonably satisfactory to the Agent and such Letter of Credit Issuer; and

(2) As of the date of issuance, no order of any court, arbitrator or
Governmental Authority shall purport by its terms to enjoin or restrain money center banks
generally from issuing letters of credit of the type and in the amount of the proposed Letter of
Credit, and no law, rule or regulation applicable to money center banks generally and no request

CH\1135197.13 029123-0013

r:;».'~.:'v~re~ v .Y

”~,'m::n~:~*-:# '

 

or directive (whether or not having the force of law) from any Governmental Authority with
jurisdiction over money center banks generally shall prohibit, or request that the proposed Letter
of Credit Issuer refrain from, the issuance of letters of credit generally or the issuance of such
Letters of Credit.

(d) Issuance of Letters of Credit.

(l) Reguest for Issuance. The Account Party must notify the Agent of a
requested Letter of Credit at least two (2) Business Days prior to the proposed issuance
date. Such notice must specify the original face amount of the Letter of Credit requested,
the Business Day of issuance of such requested Letter of Credit, whether such Letter of
Credit may be drawn in a single or in partial draws, the Business Day on which the
requested Letter of Credit is to expire, the purpose for which such Letter of Credit is to be
issued, and the beneficiary of the requested Letter of Credit. The Account Party shall
attach to such notice the proposed form of the Letter of Credit.

(2) Responsibilities of the Agent; Issuance. As of the Business Day
immediately preceding the requested issuance date of the Letter of Credit, the Agent shall
determine the Unused Letter of Credit Amount and Availability. If (i) the face amount of
the requested Letter of Credit is less than the Unused Letter of Credit Amount and (ii) the
sum of (x) the amount of such requested Letter of Credit pl_us (y) all commissions, fees,
and charges due from the Account Party in connection with the opening thereof would
not in the aggregate exceed Availability, the Agent shall cause the applicable Letter of
Credit Issuer to issue the requested Letter of Credit on the requested issuance date so long
as the other conditions hereof are met.

(3) No Extensions or Amendment. Subject to Section 1.2(b1, the Agent shall
not be obligated to cause a Letter of Credit Issuer to extend or amend any Letter of Credit
issued pursuant hereto, and no Letter of Credit Issuer shall be obligated to amend or
extend any Letter of Credit issued pursuant hereto, unless the requirements of Section
1.2(c)§21 are met as though a new Letter of Credit were being requested and issued.

(e) Pavments Pursuant to Letters of Credit. The Account Party agrees to reimburse
the applicable Letter of Credit Issuer immediately for any draw under any Letter of Credit and to pay such
Letter of Credit Issuer the amount of all other charges and fees payable to such Letter of Credit Issuer in
connection with such draw immediately when due, irrespective of any claim, setoff, defense or other right
which the Account Party may have at any time against such Letter of Credit Issuer or any other Person.
Except as otherwise agreed by the Agent, if any drawing under any Letter of Credit shall not have been
reimbursed by the Account Party in accordance with the foregoing sentence on the date of such drawing,
then the Agent shall, and the Account Party hereby authorizes and directs the Agent to, apply funds on
deposit in the L/C Cash Collateral Account to repay the amount of such drawing plus interest thereon at
the per annum rate set forth in Section 2.1.

(f`) Indemnification; Exoneration; Power of Attorney

(l) lndemnification. In addition to amounts payable as elsewhere provided
in this Section 1.2, the Account Party agrees to protect, indemnify, pay and save the Letter of
Credit Issuers and the Agent harmless from and against any and all claims, demands, liabilities,
damages, losses, costs, charges and expenses (including reasonable attorneys’ fees) which any
Letter of Credit Issuer or the Agent (other than any Letter of Credit Issuer in its capacity as Letter
of Credit Issuer) may incur or be subject to as a consequence, direct or indirect, of the issuance of

CH\ll35197.l3 029123-0013

......».»i . it *.

 

any Letter of Credit; provided, however, that the Account Party’s obligations to the Agent or any
Letter of Credit Issuer under this clause (l) shall not apply to matters resulting solely from its
gross negligence or willful misconduct. The Account Party’s obligations under this Section shall
survive payment of all other Obligations.

(2) Assumption of Risk bv the Account Partv. As among the Account Party,
the Letter of Credit Issuers, and the Agent, the Account Party assumes all risks of the acts and
omissions of, or misuse of any of the Letters of Credit by, the respective beneficiaries of such
Letters of Credit. ln furtherance and not in limitation of the foregoing, the Letter of Credit
Issuers and the Agent Shall not be responsible for: (A) the form, validity, sufficiency, accuracy,
genuineness or legal effect of any document submitted by any Person in connection with the
application for and issuance of and presentation of drafts with respect to any of the Letters of
Credit, even if it should prove to be in any or all respects invalid, insufficient, inaccurate,
fraudulent or forged; (B) the validity or sufficiency of any instrument transferring or assigning or
purporting to transfer or assign any Letter of Credit or the rights or benefits thereunder or
proceeds thereof, in whole or in part, which may prove to be invalid or ineffective for any reason;
(C) the failure of the beneficiary of any Letter of Credit to comply duly with conditions required
in order to draw upon such Letter of Credit; (D) errors, omissions, interruptions, or delays in
transmission or delivery of any messages, by mail, cable, telegraph, telex or otherwise, whether
or not they be in cipher; (E) errors in interpretation of technical terms; (F) any loss or delay in the
transmission or otherwise of any document required in order to make a drawing under any Letter
of Credit or of the proceeds thereof; (G) the misapplication by the beneficiary of any Letter of
Credit of the proceeds of any drawing under such Letter of Credit; (H) any consequences arising
from causes beyond the control of the Letter of Credit Issuers or the Agent, including any act or
omission, whether rightful or wrongful, of any present or future de jure or de facto Govemmental
Authority or (I) the Letter of Credit Issuer’s honor of a draw for which the draw or any certificate
fails to comply in any respect with the terms of the Letter of Credit. None of the foregoing shall
affect, impair or prevent the vesting of any rights or powers of the Agent or any Letter of Credit

Issuer under this Section 1.2gf).

(3) Exoneration. Without limiting the foregoing, no action or omission
whatsoever by Agent or any Letter of Credit Issuer (excluding any Letter of Credit Issuer in its
capacity as a Letter of Credit Issuer) shall result in any liability of Agent or any Letter of Credit
Issuer to the Account Party, or relieve the Account Party of any of its obligations hereunder to
any such Person.

(4) Rights Against Letter of Credit Issuer. Nothing contained in this
Agreement is intended to limit the Account Party’s rights, if any, with respect to any Letter of
Credit Issuer which arise as a result of the letter of credit application and related documents
executed by and between such Account Party and such Letter of Credit Issuer.

(5) Account Par_ty. The Account Party hereby authorizes and directs any
Letter of Credit Issuer to name such Account Party as the “Account Party” therein and to deliver
to the Agent all instruments, documents and other writings and property received by the Letter of
Credit Issuer pursuant to the Letter of Credit, and to accept and rely upon the Agent’s instructions
and agreements with respect to all matters arising in connection with the Letter of Credit or the
application therefor.

1.3 Section 364(c)( l) Supe;priorig; Administrative Claim. It is the intent of the parties

hereto that, effective on and after the date of the entry by the Bankruptcy Court of the Facility Order,
notwithstanding any term to the contrary herein, in accordance with section 364(c)(1) of the Bankruptcy

CH\1135197.13 029123-0013

 

Code, the Obligations shall constitute claims with priority in payment from funds on deposit in or credited
to the Cash Collateral Accounts, whether now existing or hereafter acquired, over any and all unsecured
pre-petition claims, all post-petition claims and all administrative expenses of the kinds specified in, or
arising or ordered under any sections of the Bankruptcy Code, including, without limitation, sections
503(b), 105, 326, 328, 330, 331, 506(0), 507(a), 507(b), 546(c), 726 and 1112 of the Bankruptcy Code,
whether or not such claims or expenses may become secured by a judgment lien or other non-consensual
lien, levy or attachment, and such claims, shall at all times be senior to the rights of the Account Party,
any Chapter 11 trustee, any Chapter 7 trustee, or any other creditor (including, without limitation, post-
petition vendors and other post-petition creditors) in the Bankruptcy Case or any subsequent proceedings
under the Bankruptcy Code, including, without limitation, any chapter 7 case of the Account Party if the
Bankruptcy Case is converted to a case under chapter 7 of the Bankruptcy Code. No cost or expense of
administration under sections 105, 364(c)(l), 503(b), 506(c), 507(b) of the Bankruptcy Code, any other
section of the Bankruptcy Code, or pursuant to any order of the Bankruptcy Court, shall be senior to,
equal to, or pari passu with, the superpriority administrative claim of the Letter of Credit Issuers arising
out of the Obligations, whether or not such claims or expenses may become secured by a judgment lien or
other non-consensual lien, levy or attachment.

1.4 Grant of Lien in Cash Collateral Accounts pursuant to Sections 364(c)(2) and Section
364§01§3). (a) As security for all L/C Obligations, the Account Party hereby grants to the Agent, for the
benefit of the Agent, the Letter of Credit Issuers and, subject to Section 3.3(b), the other holders of the
Obligations, a continuing security interest in, lien on, and right of set-off against the L/C Cash Collateral
Account, all money, cash, Cash Equivalents or other property deposited in or credited to the L/C Cash
Collateral Account, and all accessions to, substitutions for and replacements, products and proceeds of
any of the foregoing and, subject to Section 3.3(b), a continuing security interest in, lien on, and right of
set-off against the F/X Hedge Cash Collateral Account, the Commodity Hedge Cash Collateral Account,
all money, cash, Cash Equivalents or other property deposited in or credited thereto and all accessions to,
substitutions for and replacements, products and proceeds of any of the foregoing; (b) as security for all
F/X Hedge Obligations, the Account Party hereby grants to the Agent, for the benefit of the Agent, the
holders of the F/X Hedge Obligations and, subject to Section 3.3(b), the other holders of the Obligations,
a continuing security interest in, lien on, and right of set-off against the F/X Hedge Cash Collateral
Account, all money, cash, Cash Equivalents or other property deposited in or credited to the F/X Hedge
Cash Collateral Account, and all accessions to, substitutions for and replacements, products and proceeds
of any of the foregoing and, subject to Section 3.3(b), a continuing security interest in, lien on, and right
of set-off against the L/C Cash Collateral Account, the Commodity Hedge Cash Collateral Account, all
money, cash, Cash Equivalents or other property deposited in or credited thereto and all accessions to,
substitutions for and replacements, products and proceeds of any of the foregoing; and (c) as security for
all Commodity Hedge Obligations, the Account Party hereby grants to the Agent, for the benefit of the
Agent, the holders of the Commodity Hedge Obligations and, subject to Section 3.3(b), the other holders
of the Obligations, a continuing security interest in, lien on, and right of set-off against the Commodity
Hedge Cash Collateral Account, all money, cash, Cash Equivalents or other property deposited in or
credited to the Commodity Hedge Cash Collateral Account, and all accessions to, substitutions for and
replacements, products and proceeds of any of the foregoing and, subject to Section 3.3(b), a'continuing
security interest in, lien on, and right of set-off against the L/C Cash Collateral Account, the F/X Hedge
Cash Collateral Account, all money, cash, Cash Equivalents or other property deposited in or credited
thereto and all accessions to, substitutions for and replacements, products and proceeds of any of the
foregoing. lt is the intent of the parties hereto that, effective on and after the date of the entry by the
Bankruptcy Court of the Facility Order, notwithstanding any term to the contrary herein, in accordance
with sections 364(c)(2) and 364(c)(3) of the Bankruptcy Code, the Liens of the Agent granted pursuant to
this Section 1.4 shall constitute Liens that are senior in priority to all other Liens, whether now existing or
hereafter acquired, over any and all unsecured pre-petition claims, all post-petition claims and all
administrative expenses of the kinds specified in, or arising or ordered under any sections of the

5
Cl-l\ll35197.13 029123-0013

 

Bankruptcy Code, including, without limitation, sections 503(b), 105, 326, 328, 330, 331, 506(0), 507(a),
507(b), 546(c), 726 and 1112 of the Bankruptcy Code, whether or not such claims or expenses may
become secured by a judgment lien or other non-consensual lien, levy or attachment, and such Liens, in
accordance with sections 364(c)(2) and 364(c)(3) of the Bankruptcy Code, shall at all times be senior to
the rights of the Account Party, any Chapter ll trustee, any Chapter 7 trustee, or any other creditor
(including, without limitation, post-petition vendors and other post-petition creditors) in the Bankruptcy
Case or any subsequent proceedings under the Bankruptcy Code, including, without limitation, any
chapter 7 case of the Account Party if the Bankruptcy Case is converted to a case under chapter 7 of the
Bankruptcy Code, other than valid and unvoidable liens or security interests to the extent and in the
amounts existing as of the commencement of the Bankruptcy Case and Liens permitted by the Facility
Order.

1.5 Bank Products. The Account Party may request, and the Agent may, in its sole and
absolute discretion, arrange for Account Party to obtain Bank Products from the Bank or the Bank’s
Affiliates, although Account Party is not required to do so. With respect to any Bank Products provided
by an Affiliate of the Bank, Account Party agrees to indemnify and hold the Agent, the Bank and the
Letter of Credit Issuers harmless from any and all costs and obligations now or hereafter incurred by the
Agent, the Bank or any of the Letter of Credit Issuers that arise from any indemnity given by the Agent to
its Affiliates related to such Bank Products; provided, however, nothing contained herein is intended to
limit the Account Party’s rights with respect to the Bank or its Affiliates, if any, that arise as a result of
the execution of documents by and between the Account Party and the Bank that relate to Bank Products.
The agreement contained in this Section shall survive termination of this Agreement. The Account Party
acknowledges and agrees that the obtaining of Bank Products from the Bank or the Bank’s Affiliates (a)
is in the sole and absolute discretion of the Bank or the Bank’s Affiliates, and (b) is subject to all rules
and regulations of the Bank or the Bank’s Affiliates.

ARTICLE 2
INTEREST AND FEES
2.1 _lr_ite_rest.
(a) Interest Rates. All outstanding Obligations shall bear interest on the unpaid

principal amount thereof (including, to the extent permitted by law, on interest thereon not paid when
due) from the date due until paid in full in cash at a rate per annum equal to the Base Rate plus 2.50%, but
in any event not to exceed the Maximum Rate. All interest charges shall be computed on the basis of a
year of 360 days and actual days elapsed (which results in more interest being paid than if computed on
the basis of a 365-day year). Subject to prior payment, the Account Party shall pay to the Agent, for the
benefit of the applicable Letter of Credit Issuers, interest accrued on outstanding Obligations owing to
such Letter of Credit Issuers in arrears on the first day of each month hereafter and on the Termination
Date.

(b) Default Rate, If any Event of Default occurs and is continuing and the Agent or
the Majority Letter of Credit Issuers in their discretion so elect, then, while any such Event of Default is
continuing, all of the Obligations shall bear interest at the Def`ault Rate,

2.2 Maximum Interest Rate. In no event shall any interest rate provided for hereunder
exceed the maximum rate legally chargeable by any Letter of Credit Issuer under applicable law for such
Letter of Credit Issuer with respect to obligations of the type incurred hereunder (the “Maximum Rate”).
If, in any month, any interest rate, absent such limitation, would have exceeded the Maximum Rate, then
the interest rate for that month shall be the Maximum Rate, and, if in future months, that interest rate

CH\ll35197.l3 029123-0013

 

 

i
i
`.
l
4".
l

 

would otherwise be less than the Maximum Rate, then that interest rate shall remain at the Maximum Rate
until such time as the amount of interest paid hereunder equals the amount of interest which would have
been paid if the same had not been limited by the Maximum Rate. In the event that, upon payment in full
of the Obligations, the total amount of interest paid or accrued under the terms of this Agreement is less
than the total amount of interest which would, but for this Section 2.2, have been paid or accrued if the
interest rate otherwise set forth in this Agreement had at all times been in effect, then the Account Party
shall, to the extent permitted by applicable law, pay the Agent, for the account of the Letter of Credit
Issuers, an amount equal to the excess of (a) the lesser of (i) the amount of interest which would have
been charged if the Maximum Rate had, at all times, been in effect or (ii) the amount of interest which
would have accrued had the interest rate otherwise set forth in this Agreement, at all times, been in effect
over (b) the amount of` interest actually paid or accrued under this Agreement. If a court of competent
jurisdiction determines that the Agent and/or any Letter of Credit Issuer has received interest and other
charges hereunder in excess of the Maximum Rate, such excess shall be deemed received on account of,
and shall automatically be applied to reduce, the Obligations other than interest, in the inverse order of
maturity, and if there are no Obligations outstanding, the Agent and/or such Letter of Credit Issuer shall
refund to the Account Party, on behalf of the Account Party, such excess.

2.3 Facility Fee,' Administration Fee. The Account Party agrees to pay the Agent, for the
Agent’s sole account, on the date that the Facility Order is entered:

(a) a facility fee (the “Facility Fee”) in the amount $250,000; and
(b) an administration fee (the “Administration Fee”) in the amount of $75,000.

2.4 Unused Line Fee. On the first day of each month and on the Termination Date, the
Account Party agrees to pay to the Agent, for the account of the Letter of Credit Issuers, in accordance
with their respective Pro Rata Shares, an unused line fee (the “Unused Line Fee”) equal to the Applicable
Percentage times the amount by which the aggregate Commitments exceeded the average daily undrawn
face amount of outstanding Letters of Credit during the immediately preceding month or shorter period if
calculated for the first month hereafter or on the Termination Date. The Unused Line Fee shall be
computed on the basis of` a 360-day year for the actual number of days elapsed.

2.5 Letter of Credit Fee. With respect to any month during which a Letter of Credit is
outstanding, the Account Party agrees to pay to the Agent, for the account of the applicable Letter of
Credit lssuers, in accordance with their respective Pro Rata Shares, for Letters of Credit, a fee (the “Letter
of Credit Fee”) equal to l.00% per annum, multiplied by the average daily maximum aggregate amount
from time to time available to be drawn under all outstanding Letters of Credit during such month, and to
each applicable Letter of Credit Issuer, all out-of-pocket costs, fees and expenses incurred by such Letter
of Credit Issuer in connection with the application for, processing of, issuance of, or amendment to any
Letter of Credit, which costs, fees and expenses shall include a “fronting fee” of one-quarter of one
percent (0.25%) per annum of the average daily maximum aggregate amount from time to time available
to be drawn under all outstanding standby Letters of Credit during such month, payable to the Letter of
Credit Issuer. The Letter of Credit Fee and such “fronting fee” shall be payable monthly in arrears on the
first of each month following any month in which a Letter of Credit is outstanding and on the
Termination Date. The Letter of Credit Fee shall be computed on the basis of a 360-day year for the
actual number of days elapsed.

CH\ll35197.l3 029123-0013

 

 

ARTICLE 3
TERMINATION AND PAYMENTS

3 .l Termination of Facilig. The Account Party may terminate this Agreement upon at least
ten (10) Business Days’ notice to the Agent and the Letter of Credit Issuers upon the payment in full in
cash of all reimbursable expenses and other Obligations. The Agent and the Letter of Credit Issuers shall
be entitled to assume (without any investigation) that any notice required to be delivered hereunder by the
Account Party to the Committee has been so delivered.

3 .2 Pavments bv the Account Partv.

(a) All payments to be made by the Account Party shall be made without set-off,
recoupment or counterclaim. Except as otherwise expressly provided herein, all payments by the Account
Party shall be made to the Agent for the account of the Agent or the applicable Letter of Credit lssuers, as
applicable, at the account designated by the Agent and shall be made in Dollars and in immediately
available funds, no later than 12:00 noon (New York time) on the date specified herein. Any payment
received by the Agent after such time shall be deemed (for purposes of calculating interest only) to have
been received on the following Business Day and any applicable interest or fee shall continue to accrue.

(b) Whenever any payment is due on a day other than a Business Day, such payment
shall be due on the following Business Day, and such extension of time shall in such case be included in
the computation of interest or fees, as the case may be.

(c) Subj ect to Section 3.3§b ), in addition to the right of the Agent to withdraw funds
from the Cash Collateral Accounts for the payment of reimbursement obligations and interest thereon as
contemplated in Section l.2(e1, the Agent shall be entitled, without the need for further action or consent
of the Account Party, to withdraw funds on deposit in the Cash Collateral Accounts to pay any other
Obligations that have not been paid by the Account Party within 5 Business Days after delivery by the
Agent to the Account Party of an invoice for such Obligations as due in accordance with their terms.

3.3 Apportionment, Application and Reversal of Pavments.

(a) Generally. Payments of the Obligations shall be apportioned ratably among the
Letter of Credit Issuers (according to the aggregate unpaid Obligations owing to each Letter of Credit
Issuer) and payments of the fees shall, as applicable, be apportioned ratably among the Letter of Credit
Issuers, except for fees payable solely to Agent and except as provided in Section ll.lgb). All payments
shall be remitted to the Agent and all such payments not constituting payment of specific fees shall be
applied, ratably, subject to the provisions of this Agreement, Qr_st, to pay any fees, indemnities or expense
reimbursements then due to the Agent from the Account Party; second, to pay any fees or expense
reimbursements then due to the Letter of Credit Issuers from the Account Party; M, to pay unpaid
reimbursement obligations in respect of Letters of Credit; and fourth, to the payment of any other
Obligation. Subject to Section 3.3§b1, after the occurrence and during the continuance of an Event of
Default, the Agent and the Letter of Credit Issuers shall have the continuing and exclusive right to apply
and reverse and reapply any and all such proceeds and payments to any portion of the Obligations.

 

(b) Application of Amounts on Deposit in Cash Collateral Accounts.
Notwithstanding anything to the contrary set forth herein, in any other Letter of Credit Document or in
any Swap Document: (i)(A) until the Commitments are terminated, no Letters of Credit remain
outstanding and the L/C Obligations are indefeasibly paid in full in cash, the Agent shall only apply
amounts on deposit in the L/C Cash Collateral Account, in accordance with this Agreement and the

Cl-l\ll35197.l3 029123-0013

 

priorities set forth in clause §a[ above, to the L/C Obligations, and, (B) thereafter, the Agent shall apply
amounts on deposit in the L/C Cash Collateral Account, in accordance with the Swap Documents, pro
rata to the F/X Hedge Obligations and the Commodity Hedge Obligations then outstanding, if any;
(ii)(A) until the F/X Hedge Obligations are indefeasibly paid in full in cash and all transactions in
connection therewith under the Swap Documents have terminated, the Agent shall only apply amounts on
deposit in the F/X Hedge Cash Collateral Account, in accordance with the Swap Documents, to the F/X
Hedge Obligations, and, (B) thereafter, the Agent shall apply amounts on deposit in the F/X Cash
Collateral Account, in accordance with this Agreement and the priorities set forth in clause gaf above
(with respect to the L/C Obligations) or the Swap Documents (with respect to the Commodity Hedge
Obligations), pro rata to the L/C Obligations and the Commodity Hedge Obligations then outstanding, if
any; and (iii)(A) until the Commodity Hedge Obligations are indefeasibly paid in full in cash and all
transactions in connection therewith under the Swap Documents have terminated, the Agent shall only
apply amounts on deposit in the Commodity Hedge Cash Collateral Account, in accordance with the
Swap Documents, to the Commodity Hedge Obligations, and, (B) thereafter, the Agent shall apply
amounts on deposit in the Commodity Hedge Cash Collateral Account, in accordance with this
Agreement and the priorities set forth in clause gaf above (with respect to the L/C Obligations) or the
Swap Documents (with respect to the F/X Hedge Obligations), pro rata to the L/C Obligations and the
F/X Hedge Obligations then outstanding, if any.

3 .4 lndemnitv for Returned Pavments. If after receipt of any payment that is applied to the
payment of all or any part of the Obligations, the Agent or any Letter of Credit Issuer, the Bank or any
Affiliate of the Bank is for any reason compelled to surrender such payment or proceeds to any Person
because such payment or application of proceeds is invalidated, declared fraudulent, set aside, determined
to be void or voidable as a preference, impermissible setoff, or a diversion of trust funds, or for any other
reason, then the Obligations or part thereof intended to be satisfied shall be revived and continued and this
Agreement shall continue in full force as if such payment or proceeds had not been received by the Agent
or such Letter of Credit Issuer and the Account Party shall be liable to pay to the Agent and the Letter of
Credit Issuers, and hereby do indemnify the Agent and the Letter of Credit Issuers and hold the Agent and
the Letter of Credit Issuers harmless for the amount of such payment or proceeds surrendered. The
provisions of this Section 3.4 shall be and remain effective notwithstanding any contrary action which
may have been taken by the Agent or any Letter of Credit Issuer in reliance upon such payment or
application of proceeds, and any such contrary action so taken shall be without prejudice to the Agent’s
and the Letter of Credit Issuers’ rights under this Agreement and shall be deemed to have been
conditioned upon such payment or application of proceeds having become final and irrevocable. The
provisions of this Section 3.4 shall survive the termination of this Agreement.

3.5 Agent’s and Letter of Credit lssuers’ Books and Records; Monthlv Statements. The
Agent shall record the undrawn face amount of all outstanding Letters of Credit and the aggregate amount
of unpaid reimbursement obligations outstanding with respect to the Letters of Credit from time to time
on its books. In addition, each Letter of Credit Issuer may note the date and amount of each payment
such reimbursement obligations in its books and records. Failure by Agent or any Letter of Credit Issuer
to make such notation shall not affect the obligations of the Account Party with respect to Letters of
Credit. The Account Party agree that the Agent’s and each Letter of Credit Issuer’s books and records
showing the Obligations and the transactions pursuant to this Agreement and the other Letter of Credit
Documents shall be admissible in any action or proceeding arising therefrom and shall constitute
rebuttany presumptive proof thereof, irrespective of whether any Obligation is also evidenced by a
promissory note or other instrument. The Agent will provide to the Account Party a monthly statement of
payments and other transactions pursuant to this Agreement. Such statement shall be deemed correct,
accurate, and binding on the Account Party and an account stated (except for reversals and reapplications
of payments made as provided in Section 3.3 and corrections of errors discovered by the Agent) unless
the Account Party notifies the Agent in writing to the contrary within thirty (3 0) days after such statement

Cl~l\ll35197.l3 029123-0013

- - - -.---,-__,~4~.'- - -T,- -

 

is rendered. In the event a timely written notice of objections is given by the Account Party, only the
items to which exception is expressly made will be considered to be disputed by the Account Party,

ARTICLE 4

TAXES YIELD PROTECTION AND ILLEGALITY

 

4.1 Taxes.

(a) Any and all payments by the Account Party to each Letter of Credit Issuer or the
Agent under this Agreement and any other Letter of Credit Document shall be made free and clear of, and
without deduction or withholding for any Taxes. ln addition, the Account Party shall pay all Other Taxes.

(b) The Account Party jointly and severally agree to indemnify and hold harmless
each Letter of Credit Issuer and the Agent for the full amount of Taxes or Other Taxes (including any
Taxes or Other Taxes imposed by any jurisdiction on amounts payable under this Section) paid by any
Letter of Credit Issuer or the Agent and any liability (including penalties, interest, additions to tax and
expenses) arising therefrom or with respect thereto, whether or not such Taxes or Other Taxes were
correctly or legally asserted (and the Agent and each Letter of Credit Issuer agrees to use good faith
efforts to notify the Account Party of an assertion of an amount which the Account Party is liable for
pursuant to this Section 4.l(b)1. Payment under this indemnification shall be made within thirty (30) days
after the date such Letter of Credit Issuer or the Agent makes written demand therefor to the Account

Party,

(c) If the Account Party shall be required by law to deduct or withhold any Taxes or
Other Taxes from or in respect of any sum payable hereunder to any Letter of Credit Issuer or the Agent,
then:

(i) the sum payable shall be increased as necessary so that, after making all
required deductions and withholdings (including deductions and withholdings applicable to
additional sums payable under this Section), such Letter of Credit Issuer or the Agent, as the case
may be, receives an amount equal to the sum it would have received had no such deductions or
withholdings been made;

(ii) such Account Party shall make such deductions and withholdings;

(iii) such Account Party shall pay the full amount deducted or withheld to the
relevant taxing authority or other authority in accordance with applicable law; and

(iv) without duplication of the amounts paid pursuant to clause (i) above,
such Account Party shall also pay to each Letter of Credit Issuer or the Agent for the account of
such Letter of Credit Issuer, at the time interest is paid, all additional amounts which the
respective Letter of Credit Issuer specifies as necessary to preserve the after-tax yield such Letter
of Credit Issuer would have received if such Taxes or Other Taxes had not been imposed.

(d) At the Agent’s request, within thirty (30) days after the date of any payment by
the Account Party of Taxes or Other Taxes, the Account Party shall nimish the Agent the original or a
certified copy of a receipt evidencing payment thereof, or other appropriate evidence of payment.

(e) If the Account Party is required to pay additional amounts to any Letter of Credit
Issuer or the Agent pursuant to subsection §c) of this Section 4.1, then such Letter of Credit Issuer shall

10
cH\1135197.13 029123-0013

~ -~.~'::'Ar~r< 144 ' ~ -

 

use reasonable efforts (consistent with legal and regulatory restrictions) to change the jurisdiction of its
lending office so as to eliminate any such additional payment by such Account Party which may
thereafter accrue, if such change in the judgment of such Letter of Credit Issuer is not otherwise
disadvantageous to such Letter of Credit Issuer.

4.2 lncreased Costs. lf any Letter of Credit Issuer shall have determined that (i) the
introduction of any Capital Adequacy Regulation, (ii) any change in any Capital Adequacy Regulation,
(iii) any change in the interpretation or administration of any Capital Adequacy Regulation by any central
bank or other Governmental Authority charged with the interpretation or administration thereof, or (iv)
compliance by such Letter of Credit Issuer or any corporation or other entity controlling such Letter of
Credit Issuer with any Capital Adequacy Regulation, affects or would affect the amount of capital
required or expected to be maintained by such Letter of Credit Issuer or any corporation or other entity
controlling such Letter of Credit Issuer and (taking into consideration such Letter of Credit Issuer’s or
such corporation’s or other entity’s policies with respect to capital adequacy and such Letter of Credit
Issuer’s desired return on capital) determines that the amount of such capital is increased as a
consequence of its Commitments, credits or obligations under this Agreement, then, upon demand of such
Letter of Credit Issuer to the Account Party through the Agent, the Account Party shall pay to such Letter
of Credit Issuer, from time to time as specified by such Letter of Credit Issuer, additional amounts
sufficient to compensate such Letter of Credit Issuer for such increase.

4.3 Certificates of Agent. If any Letter of Credit Issuer claims reimbursement or
compensation under this Article 4, Agent shall determine the amount thereof and shall deliver to the
Account Party (with a copy to the affected Letter of Credit Issuer) a certificate setting forth in reasonable
detail the amount payable to the affected Letter of Credit Issuer, and such certificate shall be conclusive
and binding on the Account Party in the absence of manifest error.

4.4 Withholding Tax.

(a) If any Letter of Credit Issuer is a “foreign corporation, partnership or trust”
within the meaning of the Code, such Letter of Credit Issuer shall be entitled to claim exemption from, or
a reduction of, U.S. withholding tax under Sections 1441 or 1442 of the Code or otherwise, and such
Letter of Credit Issuer agrees with and in favor of the Account Party, to deliver to the Account Party:

(i) if such Letter of Credit Issuer is entitled to claim an exemption from, or a
reduction of, withholding tax under a United States of America tax treaty, properly completed
IRS Forms W-8BEN and W-8ECI before the payment of any interest in the first calendar year
and before the payment of any interest in each third succeeding calendar year during which
interest may be paid under this Agreement;

(ii) if such Letter of Credit Issuer is entitled to claim that interest paid under
this Agreement is exempt from United States of America withholding tax because it is effectively
connected with a United States of America trade or business of such Letter of Credit Issuer, two
properly completed and executed copies of IRS Form W-8ECI before the payment of any interest
is due in the first taxable year of such Letter of Credit Issuer and in each succeeding taxable year
of such Letter of Credit Issuer during which interest may be paid under this Agreement, and IRS
Form W-9; and

(iii) such other form or forms as may be required under the Code or other
laws of the United States of America as a condition to exemption from, or reduction of, United
States of America withholding tax.

ll
CH\ll35197.l3 029123-0013

-:*.--:1-:¥7.-7:1'

 

Such Letter of Credit Issuer agrees to promptly notify the Account Party of any change in circumstances
which would modify or render invalid any claimed exemption or reduction.

4.5 Survival. The agreements and obligations of the Account Party in this Article 4 shall
survive the payment of all other Obligations.

ARTICLE 5

BOOKS AND RECORDS; FINANClAL INFORMATION;
NOTICES; BANKRUPTCY CASE

5 .l Financial Information. The Account Party shall promptly furnish to each Letter of Credit
Issuer all such financial information as the Agent shall reasonably request. Without limiting the
foregoing, if and when the Company is no longer required to file Forms lO-K and 10-Q with the SEC, the
Account Party will furnish to the Agent, in such detail as the Agent or the Letter of Credit Issuers shall
request, the following:

(a) As soon as available, but in any event not later than one hundred five (105) days
after the close of each Fiscal Year, consolidated audited balance sheets, and related consolidated income
statements, cash flow statements and changes in stockholders’ equity for the Company and its
consolidated Subsidiaries for such Fiscal Year, together with the accompanying notes thereto, setting
forth in each case in comparative form figures for the previous Fiscal Year, all in reasonable detail, fairly
presenting in all material respects the financial position and the results of operations of the Company and
its consolidated Subsidiaries or the Account Party on a consolidated basis, as applicable as at the date
thereof and for the Fiscal Year then ended, and prepared in accordance with GAAP. The audited
statements required to be delivered pursuant to the immediately preceding sentence shall be examined in
accordance with generally accepted auditing standards by PricewaterhouseCoopers or other independent
certified public accountants selected by the Company and reasonably satisfactory to the Agent, and
accompanied by a report of such accountants on such statements, which report shall be unqualified as to
scope of audit. The Company hereby authorizes the Agent to communicate directly with its certified
public accountants and, by this provision, authorizes those accountants to disclose to the Agent any and
all financial statements and other supporting financial documents and schedules relating to the Company
and its consolidated Subsidiaries and to discuss directly with the Agent the finances and affairs of the
Company and its consolidated Subsidiaries.

(b) As soon as available, but in any event not later than thirty (3 0) days after the end
of each month (other than any month that is also the last month of a fiscal quarter), (i) unaudited balance
sheets of the Company and its consolidated Subsidiaries on a consolidated basis as at the end of such
month and as at the end of the prior Fiscal Year, (ii) consolidated unaudited income statements for the
Company and its consolidated Subsidiaries on a consolidated basis for such month and for the period
from the beginning of the Fiscal Year to the end of such month, and (iii) unaudited cash flow statements
for the Company and its consolidated Subsidiaries on a consolidated basis for such month and for the
period from the beginning of the Fiscal Year to the end of such month, all in reasonable detail, fairly
presenting the financial position and results of operations of the Company and its consolidated
Subsidiaries on a consolidated basis as at the date thereof and for such periods, and prepared in
accordance with GAAP (except for the absence or abbreviation of footnotes and subject to normal year-
end adjustments) applied consistently with the audited Financial Statements required to be delivered
pursuant to Section 5.2§a). The Account Party shall certify by a certificate signed by its chief financial
officer that all Such statements have been prepared in accordance with GAAP (except for the absence or
abbreviation of footnotes and subject to normal year-end adjustments) and present fairly the financial
position of the Company and its consolidated Subsidiaries on a consolidated basis as at the dates thereof

12
cH\1135197.13 029123-0013

-.-WT*.“ "‘*‘

..i =..1." l 1 i

 

and the results of operations of the Company and its consolidated Subsidiaries on a consolidated basis for
the periods then ended.

(c) As soon as available, but in any event not later than forty-five (45) days after the
end of each of the first three fiscal quarters of each Fiscal Year, unaudited balance sheets of the Company
and its consolidated Subsidiaries on a consolidated basis as at the end of such fiscal quarter, and
consolidated unaudited income statements and cash flow statements for the Company and its consolidated
Subsidiaries on a consolidated basis for such fiscal quarter and for the period from the beginning of the
Fiscal Year to the end of such fiscal quarter, all in reasonable detail, fairly presenting the financial
position and results of operations of the Company and its consolidated Subsidiaries on a consolidated
basis as at the date thereof and for such periods, and, in each case, in comparable form, figures for the
corresponding period in the prior Fiscal Year, and prepared in accordance with GAAP (except for the
absence or abbreviation of footnotes and subject to normal year-end adjustments) applied consistently
with the audited Financial Statements required to be delivered pursuant to Section 5.lga1. The Account
Party shall certify by a certificate signed by its chief financial officer that all such statements have been
prepared in accordance with GAAP (except for the absence or abbreviation of footnotes and subject to
normal year-end adjustments) and present fairly the financial position of the Company and its
consolidated Subsidiaries on a consolidated basis as at the dates thereof and the results of operations of
the Company and its consolidated Subsidiaries on a consolidated basis for the periods then ended,

(d) Within sixty (60) days after the end of each fiscal quarter a certificate of the
Account Party signed by its chief financial officer stating that, except as explained in reasonable detail in
such certificate, (A) all of the representations and warranties of the Account Party contained in this
Agreement and the other Letter of Credit Documents are correct and complete in all material respects as
at the last day of such quarter as if made at such time, except for those that speak as of a particular date,
(B) the Account Party is, at the date of such certificate, in compliance in all material respects with all of
its covenants and agreements in this Agreement and the other Letter of Credit Documents, and (C) no
Default or Event of Default then exists or existed during the period covered by the Financial Statements
for such month, If such quarterly certificate discloses that a representation or warranty is not correct or
complete, or that a covenant has not been complied with, or that a Default or Event of Default existed or
exists, such certificate shall set forth what action the Account Party has taken or propose to take with
respect thereto.

(e) Such additional information as the Agent and/or any Letter of Credit Issuer may
from time to time reasonably request regarding the financial and business affairs of the Company or any
Subsidiary.

5.2 Notices to the Letter of Credit Issuers. Promptly upon a Responsible Officer becoming
aware thereof, the Account Party shall notify the Agent and the Letter of Credit Issuers in writing of the
following matters:

(a) any Default or Event of Default;

(b) any pending or threatened action, suit, or proceeding, by any Person, or any
pending or threatened investigation by a Governmental Authority; or the rendering of any judgment
against the Account Party in any action, suit or proceeding awarding damages, which would reasonably
be expected to have a Material Adverse Effect;

Each notice given under this Section shall describe the subject matter thereof in
reasonable detail, and shall set forth the action that the Account Party, any Other Subsidiary, or any
ERISA Affiliate, as applicable, has taken or proposes to take with respect thereto.

13
CH\1135197.13 029123-0013

_,_ ,

” “'"r~::ern

 

5.3 Bankruptcy Case. Promptly upon the filing of each motion, application or similar filing
relating to the Bankruptcy Case and promptly upon the entry of each order, decree or judgment relating to
one or more of the Bankruptcy Case, the Account Party shall provide to, or cause to be provided to, the
Agent’s counsel a copy of each such motion, application, filing, order, decree or judgment; provided,
however, that this provision shall be deemed satisfied by inclusion of the Agent’s counsel on the list
maintained in the Bankruptcy Case pursuant to Fed.R.Bankr.P. 2002 and actual service of the Agent’S
counsel by the Account Party of all filings made by the Account Party in the Bankruptcy Case and all
orders, decrees or judgments relating to all such filings by the Account Party,

ARTICLE 6
GENERAL WARRANTIES AND REPRESENTATIONS

The Account Party warrants and represents to the Agent and the Letter of Credit Issuers
that, except as hereafter disclosed to and accepted by the Agent and the Majority Letter of Credit Issuers
in writing and subject to the entry by the Bankruptcy Court of the Facility Order:

6.1 Authorization, Validitv, and Enforceabilitv of this Agreement and the Letter of Credit
Documents, The Account Party has the corporate or other legal power and authority to execute, deliver
and perform this Agreement and the other Letter of Credit Documents to which it is a party and to incur
the Obligations The Account Party has taken all necessary action (including obtaining approval of its
stockholders if necessary) to authorize its execution, delivery, and performance of this Agreement and the
other Letter of Credit Documents to which it is a party. This Agreement and the other Letter of Credit
Documents to which it is a party have been duly executed and delivered by the Account Party, and
constitute the legal, valid and binding obligations of the Account Party, enforceable against it in
accordance with their respective terms. The Account Party’s execution, delivery, and performance of this
Agreement and the other Letter of Credit Documents to which it is a party do not and will not (i) result in
the imposition of any Lien (other than the Liens granted under the Letter of Credit Documents) upon the
property of the Account Party, by reason of the terms of (1) any contract, mortgage, lease, agreement,
indenture, or instrument to which the Account Party is a party or which is binding upon it (including any
of the foregoing entered into after the Petition Date), (2) any Requirement of Law applicable to the
Account Party, or (3) the certificate of incorporation or by-laws of the Account Party or (ii) conflict with,
or constitute a violation of (1) any contract, mortgage, lease, agreement, indenture, or instrument to which
the Account Party is a party or which is binding upon it and that was entered into after the Petition Date,
except where such conflict, violation or breach would not reasonably be expected to have a Material
Adverse Effect, (2) any Requirement of Law applicable to the Account Party, except where such conflict,
violation or breach would not reasonably be expected to have a Material Adverse Effect or (3) the
certificate of incorporation or by-laws of the Account Party.

6.2 Validitv and Prioritv of Security Interest. The provisions of this Agreement and the other
Letter of Credit Documents create legal and valid Liens on the Cash Collateral Accounts and all amounts
deposited therein or credited thereto in favor of the Agent, for the ratable benefit of the Agent and the
Letter of Credit Issuers, and such Liens constitute perfected and continuing Liens on such accounts and
amounts, having the priority set forth in the Facility Order.

6.3 Account PaM’s Organization and Qualification. The Account Party (a) is duly organized

or incorporated and validly existing in good standing under the laws of the state of` Connecticut, (b) is
qualified to do business and is in good standing in all jurisdictions in which the failure to so qualify or be
in good standing would reasonably be expected to have a Material Adverse Effect and (c) has all requisite
power and authority to conduct its business and to own its property, except where the failure to have such
power and authority could not reasonably be expected to have a Material Adverse Effect.

14
CH\1135197.13 029123-0013

 

6.4 Litigation. Except as set forth on Schedule 6.4, there is no pending, or to the best of the
Account Party’s knowledge threatened, action, suit, proceeding, or counterclaim against the Company or
any of its consolidated Subsidiaries before any Governmental Authority or arbitrator or panels of
arbitrators that (i) may not be stayed as a result of the Bankruptcy Case and (ii) would reasonably be
expected to have a Material Adverse Effect.

6.5 Regulated Entities. The Account Party and no Person controlling the Account Party, is
an “Investment Company” within the meaning of the Investment Company Act of 1940. The Account
Party is subject to regulation under the Public Utility Holding Company Act of 193 5, the Federal Power
Act, the Interstate Commerce Act, any state public utilities code or law, or any other federal or state
statute or regulation limiting its ability to incur indebtedness

6.6 Use of Proceeds; Margin Regulations. The proceeds of the Letters of Credit are to be
used solely for general corporate purposes arising after the date hereof. Neither the Account Party or any
Other Subsidiary is engaged in the business of purchasing or selling Margin Stock or extending credit for
the purpose of purchasing or carrying Margin Stock. No part of the proceeds of any Letter of Credit will
be used in violation of Regulation U of the Board of Governors of the Federal Reserve System as in effect
from time to time.

6.7 Full Disclosure. None of the representations or warranties made by the Account Party in
the Letter of Credit Documents as of the date such representations and warranties are made or deemed
made, and none of the statements contained in any exhibit, report, statement or certificate furnished by or
on behalf of the Account Party or any Subsidiary in connection with the Letter of Credit Documents
(including the offering and disclosure materials delivered by or on behalf of the Account Party to the
Letter of Credit Issuers prior to the Closing Date), contains any untrue statement of a material fact as of
the date of any such exhibit, report, statement or certificate,

6.8 Governmental Authorization. No approval, consent, exemption, authorization, or other
action by, or notice to (other than notices of default hereunder), or filing with, any Governmental
Authority or other Person (other than the Bankruptcy Court) is necessary or required in connection with
the execution, delivery or performance by, or enforcement against, the Account Party of this Agreement
or any other Letter of Credit Document, except the Bankruptcy Court and notices to creditors and
stockholders required by the Bankruptcy Code,

ARTICLE 7
AFF[RMATIVE AND NEGA'I`IVE COVENANTS

The Account Party covenants to the Agent and each Letter of Credit Issuer that so long as
any of the Obligations remain outstanding (other than not yet asserted indemnification obligations) or this
Agreement is in effect:

7.1 Legal Existence and Good Standim.z. The Account Party shall maintain its legal
existence, and shall maintain its qualification and good standing in all jurisdictions in which the failure to
maintain such existence and qualification or good standing would reasonably be expected to have a
Material Adverse Effect.

7.2 Compliance with Law and Agreements. The Account Party shall comply, in all material
respects, with all Requirements of Law of any Governmental Authority having jurisdiction over it or its
business (including the Federal Fair Labor Standards Act and all Environmental Laws), except where the
failure to do so could not reasonably be expected to have a Material Adverse Effect. The Account Party

15
cH\1135197.13 029123-0013

.. .~:n.~we- 4

. . owe

 

shall not modify, amend or alter its certificate of incorporation other than in a manner which does not
adversely affect the rights of the Letter of Credit Issuers or the Agent in any material respect.

7.3 Mergers and Consolidations. Except for the plan of reorganization in the Bankruptcy
Case, the Account Party shall not enter into any transaction of merger, reorganization, or consolidation or
agree to do any of the foregoing (or apply to the Bankruptcy Court for authority to do so) except for any
merger or consolidation of any Subsidiary of the Company with and into the Account Party or providing
its consent to or approval of any merger or consolidation of any Subsidiary of the Company with and into
another Subsidiary of the Company.

7.4 Use of Proceeds. The Account Party shall not, nor shall the Account Party cause or
permit any Other Subsidiary to, use any portion of the Letter of Credit proceeds, directly or indirectly, (i)
to purchase or carry Margin Stock, (ii) to repay or otherwise refinance indebtedness of the Account Party
or others incurred to purchase or carry Margin Stock, (iii) to extend credit for the purpose of purchasing
or carrying any Margin Stock, (iv) to acquire any security in any transaction that is subject to Section 13
or 14 of the Exchange Act, or (v) for any purpose other than general corporate purposes.

7.5 Funding of Cash Collateral Accounts.

(a) F/X Hedge Cash Collateral Account. After notice (i) by the Agent to the
Account Party not later than 10:00 AM (New York time) on any Business Day, the Account Party shall
deposit, or cause to be deposited, not later than 4:00 PM on such Business Day, in the F/X Hedge Cash
Collateral Account, cash in the amount specified in such notice, which shall be the amount determined by
the Agent to be necessary to cause the aggregate balance of cash on deposit in the F/X Hedge Cash
Collateral Account to be equal to at least 115% of the mark-to-market exposure of the Bank with respect
to the F/X Hedge Obligations on such Business Day, it being understood and agreed that any amount
required to be so deposited shall be rounded upwards to the nearest $250,000, and (ii) by the Account
Party to the Agent not later than 10:00 AM (New York time) on any Business Day, the Bank shall
deposit, or cause to be deposited, not later than the close of such Business Day, in the account designated
by the Account Party in such notice, cash in the amount specified in such notice, which shall be the
amount agreed by the Account Party and the Agent to be the amount by which the balance of the F/X
Hedge Cash Collateral Account exceeds an amount equal to 115% of the mark-to-market exposure of the
Bank with respect to the F/X Hedge Obligations on such Business Day, it being understood and agreed
that any amount required to be so deposited shall be rounded up to the nearest 8100,000 (but in any event
such amount shall not cause the balance of the F/X Hedge Cash Collateral Account to be less than an
amount equal to 115% of the mark-to-market exposure of the Bank with respect to the F/X Hedge
Obligations on such Business Day).

(b) Commodity Cash Collateral Account. After notice (i) by the Agent to the
Account Party not later than 10:00 AM (New York time) on any Business Day, the Account Party shall
deposit, or cause to b_e deposited, not later than 4:00 PM on such Business Day, in the Commodity Hedge
Cash Collateral Account, cash in the amount specified in such notice, which shall be the amount
determined by the Agent to be necessary to cause the aggregate balance of cash on deposit in the
Commodity Hedge Cash Collateral Account to be equal to at least 115% of the mark-to-market exposure
of the Bank with respect to the Commodity Hedge Obligations on such Business Day, it being understood
and agreed that any amount required to be so deposited shall be rounded upwards to the nearest $250,000,
and (ii) by the Account Party to the Agent not later than 10:00 AM (New York time) on any Business
Day, the Bank shall deposit, or cause to be deposited, not later than the close of such Business Day, in the
account designated by the Account Party in such notice, cash in the amount specified in such notice,
which shall be the amount agreed by the Account Party and the Agent to be the amount by which the
balance of the Commodity Hedge Cash Collateral Account exceeds an amount equal to 115% of the

16
cH\1135197_13 029123-0013

 

 

mark-to-market exposure of the Bank with respect to the Commodity Hedge Obligations on such
Business Day, it being understood and agreed that any amount required to be so deposited shall be
rounded up to the nearest $100,000 but in any event such amount shall not cause the balance of the
Commodity Hedge Cash Collateral Account to be less than an amount equal to 115% of the mark-to-
market exposure of the Bank with respect to the Commodity Hedge Obligations on such Business Day).

7.6 Further Assurances. The Account Party shall execute and deliver, or cause to be
executed or delivered, to the Agent and/or the Letter of Credit Issuers such documents and agreements,
and shall take or cause to be taken such actions, as the Agent or any Letter of Credit Issuer may, from
time to time, request to carry out the terms and conditions of this Agreement and the other Letter of Credit
Documents,

ARTICLE 8
CONDITIONS TO ISSUANCE

8.1 Conditions Precedent to Issuance of Initial Letter of Credit. The obligation of the Agent
to cause the Letter of Credit Issuer to issue the initial Letter of Credit (excluding the Existing Letters of
Credit), and the obligation of a Letter of Credit Issuer to issue the initial Letter of Credit, are subject to the
following conditions precedent having been satisfied in a manner satisfactory to the Agent and each
Letter of Credit Issuer (or waived in writing by the Agent and each Letter of Credit Issuer):

(a) This Agreement and the other Letter of Credit Documents shall have been
executed by each party thereto and the Account Party shall have performed and complied with all
covenants, agreements and conditions contained herein and the other Letter of Credit Documents which
are required to be performed or complied with by the Account Party before or on such date.

(b) All representations and warranties made hereunder and in the other Letter of
Credit Documents shall be true and correct as if made on such date.

(c) No Default or Event of Default shall have occurred and be continuing after
giving effect to the Letters of Credit to be issued on such date.

(d) The Agent shall have received copies of (i) the certificate of incorporation , (ii)
the bylaws or other similar agreement and all amendments thereto, (iii) resolutions of the Board of
Directors of the Account Party approving and adopting the Letter of Credit Documents to which it is a
party, the transactions contemplated therein and authorizing execution and delivery thereof, in each case,
of the Account Party and certified by a secretary or assistant secretary of the Account Party to be true and
correct and in force and effect as of such date and (iv) a certificate of the Secretary or Assistant Secretary
(or equivalent thereof) of the Account Party certifying as to the incumbency of the officers of the Account
Party executing one or more Letter of Credit Documents.

(e) The Account Party shall have paid all fees and expenses of the Agent and the
Attorney Costs incurred in connection with any of the Letter of Credit Documents and the transactions
contemplated thereby to the extent invoiced.

(f) All proceedings taken in connection with the execution of this Agreement, all
other Letter of Credit Documents and all documents and papers relating thereto shall be satisfactory in
form, scope, and substance to the Agent and the Letter of Credit Issuers.

17
CH\1135197.13 029123-0013

11 .~ ::~11\.~,'.~1.:.1.:;1.»: ;~:-1;.-:.~_\¢.¢-..' 1 1

 

(g) All orders entered in the Bankruptcy Case shall be in form and substance
reasonably satisfactory to the Agent and its counsel.

(h) Without limiting the generality of the items described above, the Account Party
shall have delivered or caused to be delivered to the Agent (in form and substance reasonably satisfactory
to the Agent), the resolutions, documents, agreements, certificates and other items required by this
Section 8.1.

(i) The Agent shall have received a signed copy of the order (the “Facili§g Order”)
of the Bankruptcy Court in substantially the form of Exhibit A authorizing and approving the transactions
contemplated hereby and the Letter of Credit Documents and the granting of the superpriority claim status
and liens as described in Section 1.3 and the Facility Order. The Facility Order (i) shall be in form and
substance satisfactory to the Agent, (ii) shall be certified by the Clerk of the Bankruptcy Court as having
been duly entered, (iii) shall have authorized extensions of credit by the Letter of Credit Issuers in
amounts up to 8100,000,000, (iv) shall approve the payment by the Account Party of all of the fees set
forth in Sections 2.3, § and 241 and (v) shall be in full force and effect and shall not have been vacated,
reversed, modified, amended or stayed.

(i) The Account Party shall have (i) established each of the L/C Cash Collateral
Account, the F/X Hedge Cash Collateral Account and the Commodity Hedge Cash Collateral Account,
(ii) deposited in the F/X Hedge Collateral Account cash collateral in an amount equal to 115% of the
mark-to-market exposure of the Bank with respect to the F/X Hedge Obligations as of the Closing Date as
determined by the Agent, (iii) deposited in the Commodity Hedge Collateral Account cash collateral in an
amount equal to 115% of the mark-to-market exposure of the Bank with respect to the Commodity Hedge
Obligations as of the Closing Date as determined by the Agent and (iv) entered into account control
agreements, in form and substance satisfactory to the Agent, with respect to each of the Cash Collateral
Accounts.

The acceptance by the Account Party of any Letters of Credit issued on any date shall be
deemed to be a representation and warranty made by the Account Party to the effect that all of the
conditions precedent to the issuance of such Letters of Credit have been satisfied, with the same effect as
delivery to the Agent and the Letter of Credit Issuers of a certificate signed by a Responsible Officer of
the Account Party, dated such date, to such effect.

Execution and delivery to the Agent by a Letter of Credit Issuer of a counterpart of this
Agreement shall be deemed confirmation by such Letter of Credit Issuer that (i) the decision of such
Letter of Credit Issuer to execute and deliver to the Agent an executed counterpart of this Agreement was
made by such Letter of Credit Issuer independently and without reliance on the Agent or any other Letter
of Credit Issuer as to the satisfaction of any condition precedent set forth in this Section 8.1, and (ii) all
documents sent to such Letter of Credit Issuer for approval consent, or satisfaction were acceptable to
such Letter of Credit Issuer,

8.2 Conditions Precedent to Each Issuance. The obligation of the Agent to cause a Letter of
Credit Issuer to issue any Letter of Credit and the obligation of any Letter of Credit Issuer to issue any
Letter of Credit shall be subject to the further conditions precedent that on and as of the date of any such
extension of credit (provided, however, that such conditions precedent are not conditions for any drawing
under a Letter of Credit):

 

(a) The following statements shall be true, and the acceptance by the Account Party
of any extension of credit shall be deemed to be a statement to the effect set forth in clauses gil and §p)

18
CH\1135197_13 029123-0013

l
l
l
r.
l
41
l.
ii
l
§;
;.
\,

 

 

with the same effect as the delivery to the Agent and the Letter of Credit Issuers of a certificate signed by
a Responsible Officer of the Account Party, dated the date of such extension of credit, stating that:

(i) The representations and warranties contained in this Agreement and the
other Letter of Credit Documents are correct in all material respects on and as of the date of such
extension of credit as though made on and as of such date, other than any such representation or
warranty which relates to a specified prior date and except to the extent the Agent and the Letter
of Credit Issuers have been notified in writing by the Account Party that any representation or
warranty is not correct and the Maj ority Letter of Credit Issuers have explicitly waived in writing
compliance with such representation or warranty; and

(ii) No event has occurred and is continuing, or would result from such
extension of credit, which constitutes a Default or an Event of Default; and

(iii) No event has occurred and is continuing, or would result from such
extension of credit, which has had or would reasonably be expected to have a Material Adverse
Effect.

(b) The aggregate face amount of the requested Letters of Credit shall not exceed
Availability.

(c) The Bankruptcy Case Shall not have been dismissed or converted to chapter 7 of
the Bankruptcy Code, the Account Party shall not have filed an application for an order dismissing the
Bankruptcy Case or converting its or any other Account Party’s Bankruptcy Case to a case under chapter
7 of the Bankruptcy Code, and no trustee under chapter 7 or chapter ll of the Bankruptcy Code shall have
been appointed in the Bankruptcy Case, No application shall have been filed by the Account Party for the
approval of any other superpriority administrative claim in the Bankruptcy Case which is pari passu with
or senior to the claims of the Agent and/or any Letter of Credit Issuer arising under this Agreement
against the Account Party and the Facility Order shall not have been stayed, modified, amended, reversed,
rescinded or vacated.

ARTICLE 9

DEFAULT' REMED[E,S

 

9.1 Events of Default. It shall constitute an event of default (“Event of Default”) if any one
or more of the following shall occur for any reason:

(a) (i) any failure by the Account Party to pay any reimbursement obligations
relating to Letters of Credit when due, whether upon demand or otherwise, or (ii) any failure by the
Account Party to pay any interest on any of the Obligations or any fees or other Obligations or other
amount owing hereunder within three (3) Business Days of the applicable due date, whether upon demand
or otherwise;

(b) any representation or warranty made or deemed made by the Account Party in
this Agreement or in any of the other Letter of Credit Documents, any Financial Statement, or any
certificate furnished by the Account Party or any Other Subsidiary at any time to the Agent or any Letter
of Credit Issuer pursuant to any Letter of Credit Document shall prove to be untrue in any material respect
as of the date on which made, deemed made, or furnished;

19
CH\1135197.13 029123-0013

11 11~:1.'":'~+.11 1 11 1: -

 

(c) (i) any default shall occur in the observance or performance of any of the
covenants and agreements contained in Sections 7.1 or _7_._3_, (ii) any default shall occur in the observance
or performance of any of the covenants and agreements contained in Section 7.5, and such default shall
continue for two (2) Business Days or more, (iii) any default shall occur in the observance or performance
of any of the covenants and agreements contained in Sections 5.1 or _5._2, and such default shall continue
for five (5) Business Days or more; or (iv) any default shall occur in the observance or performance of
any of the other covenants or agreements contained in any other Section of this Agreement, any other
Letter of Credit Document or any Swap Document, and such default described in this clause giv) shall
continue for fifteen (15) days or more;

(d) the Account Party shall file a certificate of dissolution under applicable state law
or shall be liquidated, dissolved or wound-up or shall commence any action or proceeding for dissolution,
winding-up or liquidation, or shall take any corporate action in furtherance thereof;

(e) all or any material part of the property of the Account Party and its Subsidiaries,
taken as a whole, shall be nationalized, expropriated or condemned, Seized or otherwise appropriated, or
custody or control of such property or of the Account Party shall be assumed by any Governmental
Authority or any court of competent jurisdiction at the instance of any Governmental Authority, except
where contested in good faith by proper proceedings diligently pursued where a stay of enforcement is in
effect;

(f) other than in accordance with its terms or by agreement of its parties, any Letter
of Credit Document shall be terminated, revoked or declared void or invalid or unenforceable or
challenged by the Account Party or any other obligor;

(g) one or more judgments, orders, decrees or arbitration awards is entered against
the Account Party involving in the aggregate liability (to the extent not covered by independent third-
party insurance as to which the insurer does not dispute coverage) as to any single or related or unrelated
series of transactions, incidents or conditions, of $10,000,000 or more, and the same shall remain
unsatisfied, unvacated and unstayed pending appeal for a period of thirty (3 0) days after the entry thereof;

(h) there is filed against the Account Party or any Other Subsidiary any action, suit
or proceeding under any federal or state racketeering statute (including the Racketeer Influenced and
Corrupt Organization Act of 1970), which action, suit or proceeding (i) is not dismissed within one
hundred twenty (120) days, and (ii) would reasonably be expected to result in the confiscation or
forfeiture of any material portion of the assets of the Account Party;

(i) for any reason any Letter of Credit Document ceases to be in full force and
effect;

(j) (i) an ERISA Event shall occur with respect to a Pension Plan or Multi-employer
Plan which has resulted or would reasonably be expected to result in liability of the Account Party under
Title IV of ERISA to the Pension Plan, Multi-employer Plan or the PBGC and such liability would
reasonably be expected to cause a Material Adverse Effect; or (ii) the Account Party or any ERISA
Affiliate shall fail to pay when due, after the expiration of any applicable grace period, any installment
payment with respect to its withdrawal liability under Section 4201 of ERISA under a Multi-employer
Plan in an aggregate amount in excess of $25,000,000;

(k) the Bankruptcy Case shall be dismissed or converted to a case under chapter 7 of
the Bankruptcy Code, or the Account Party shall file an application for an order dismissing the
Bankruptcy Case or converting the Bankruptcy Case to a case under chapter 7 of the Bankruptcy Code; or

20
cH\1135197.13 029123-0013

…..1..... . l

 

an application shall be filed by the Account Party for the approval of any material superpriority
administrative claim or lien in the Bankruptcy Case which is pari passu with or senior to the claims or
liens of the Agent and/or any Letter of Credit Issuer against the Account Party contemplated in Sections
1.3 and 1.4 of this Agreement, or there shall arise any such material pari passu or senior superpriority
administrative claim or lien;

(l) the Account Party shall propose a confirmation order for the Account Party’s
plan of reorganization currently pending in the Bankruptcy Case, or an order by the Bankruptcy Court
shall be entered confirming the Account Party’s plan of reorganization currently pending in the
Bankruptcy Case, or the Account Party shall propose another plan of reorganization in the Bankruptcy
Case which, in any of the above cases, does not include a provision for termination of the Commitment
and indefeasible payment in full in cash of all L/C Obligations of the Account Party hereunder and under
the other Letter of Credit Documents (including the cancellation and return of all Letters of Credit and/or
maintenance of cash collateral in the L/C Cash Collateral Account with respect to such Letters of Credit
in an amount equal to the aggregate undrawn amount of such Letters of Credit) on or before the effective
date of such plan of reorganization;

(m) an order by the Bankruptcy Court shall be entered, or the Account Party shall file
an application for an order, dismissing the Bankruptcy Case which does not require a provision for
termination of the Commitments and indefeasible payment in full in cash of all Obligations of the
Account Party hereunder and under the other Letter of Credit Documents (including the cancellation and
return of all Letters of Credit and/or maintenance of cash collateral in the L/C Cash Collateral Account
with respect to such Letters of Credit in an amount equal to the aggregate undrawn amount of such Letters
of Credit) prior to any such dismissal;

(n) an order by the Bankruptcy Court shall be entered in or with respect to the
Bankruptcy Case or the Account Party shall file an application for an order with respect to the Bankruptcy
Case (i) to revoke, reverse, stay, rescind, modify, vacate, supplement or amend the Facility Order or (ii) to
permit any material administrative expense or any material claim (now existing or hereafter arising, of
any kind or nature whatsoever) to have an administrative priority as to the Account Party equal or
superior to the priority of the claims of the Agent and the Letter of Credit Issuers in respect of the
Obligations;

(o) an application for any of the orders described in any or all of clauses gj [, §k), Q),
or §m) above shall be made by a Person other than the Account Party and such application is not contested
by the applicable Account Party in good faith and the relief requested is granted in an order that is not
vacated, reversed, rescinded or stayed pending appeal; or

(p) (i) from and after the date of entry thereof, the Facility Order shall cease to be in
full force and effect, or (ii) the Account Party shall fail to comply with the terms of the Facility Order in
any material respect, or (iii) the Facility Order shall be amended, supplemented, stayed, reversed, vacated
or otherwise modified (or the Account Party shall apply for authority to do so); or

(q) The Bankruptcy Court shall enter an order appointing a trustee in the Case or
appointing a responsible officer or an examiner with powers beyond the duty to investigate and report, as
set forth in section 1106(a)(3) and (4) of the Bankruptcy Code, in the Bankruptcy Case.

9.2 Remedies.

(a) If a Default or an Event of Default exists, the Agent may, in its discretion, and
shall, at the direction of the Majority Letter of Credit Issuers, without further order of or application to the

21
CH\1135197.13 029123-0013

 

Bankruptcy Court as permitted by the Facility Order, do one or more of the following at any time or times
and in any order, without notice to or demand on the Account Party restrict or refuse to provide Letters of
Credit. If an Event of Default exists, the Agent shall, at the direction of the Majority Letter of Credit
Issuers, do one or more of the following, in addition to the actions described in the preceding sentence, at
any time or times and in any order, without notice to or demand on the Account Party: (A) terminate the
Commitments and this Agreement; (B) declare any or all Obligations to be immediately due and payable;
provided, however, that upon the occurrence of any Event of Default described in Sections 9.l(m), §Q,
(g), fp), or §g_), the Commitments shall automatically and immediately expire and all Obligations shall
automatically become immediately due and payable without notice or demand of any kind; and (C)
pursue its other rights and remedies under the Letter of Credit Documents and applicable law.

(b) If an Event of Default has occurred and is continuing, the Agent may, subject to
Section 3.3(b) and any notice requirements set forth in the Facility Order, at any time, apply all amounts
on deposit in the Cash Collateral Accounts to the satisfaction of the Obligations then outstanding The
Agent will return any excess to the Account Party and the Account Party shall remain liable for any
deficiency.

(c) If an Event of Default occurs, the Account Party hereby waives all rights to
notice and hearing prior to the exercise by the Agent of the Agent’s rights to apply amounts on deposit in
the Cash Collateral Accounts without judicial process.

(d) If an Event of Default has occurred and is continuing, subject only to any notice
requirements set forth in the Facility Order, all stays and injunctions, including the automatic stay
pursuant to Bankruptcy Code section 362, shall be vacated and terminated to the extent necessary to
permit the Agent and the Letter of Credit Issuers full exercise of all of their rights and remedies under all
applicable bankruptcy and non-bankruptcy law.

ARTICLE 10
TERM AND TERMINATION

10.1 Term and Termination. The term of this Agreement shall end on the Stated Termination

Date unless sooner terminated in accordance with the terms hereof. The Agent, upon direction from the
Majority Letter of Credit Issuers, may terminate this Agreement without notice upon the occurrence of an
Event of Default. Upon the effective date of termination of this Agreement for any reason whatsoever, all
Obligations (including all unpaid principal, accrued and unpaid interest and any early termination or
prepayment fees or penalties, but excluding not yet asserted indemnification obligations) shall become
immediately due and payable and the Account Party shall immediately arrange for the cancellation and
return of Letters of Credit then outstanding (or maintenance of cash collateral in the Cash Collateral
Account with respect to such Letters of Credit in an amount equal to the aggregate undrawn amount of
such Letters of Credit). Notwithstanding the termination of this Agreement, until all Obligations are
indefeasibly paid and performed in full in cash, the Account Party shall remain bound by the terms of this
Agreement and shall not be relieved of any of its Obligations hereunder or under any other Letter of
Credit Document, and the Agent and the Letter of Credit Issuers shall retain all their rights and remedies
hereunder.

ARTICLE ll
AMENDMENTS; WAIVERS; ASSIGNMENTS; SUCCESSORS

l 1.1 Amendments and Waivers.

22
CH\1135197.13 029123-0013

 

 

(a) No amendment or waiver of any provision of this Agreement or any other Letter
of Credit Document, and no consent with respect to any departure by the Account Party therefrom, shall
be effective unless the same shall be in writing and signed by the Majority Letter of Credit Issuers (or by
the Agent at the written request of the Majority Letter of Credit Issuers) and the Account Party (or the
Account Party) and then any such waiver or consent shall be effective only in the specific instance and for
the specific purpose for which given; provided, however, that no such waiver, amendment, or consent
shall, unless in writing and signed by all the Letter of Credit Issuers and the Account Party (or the
Account Party) and acknowledged by the Agent, do any of the following:

(i) increase or extend the Commitment of any Letter of Credit lssuer;

(ii) postpone or delay any date fixed by this Agreement or any other Letter
of Credit Document for any payment of interest, fees or other amounts due to the Letter of Credit
Issuers (or any of them) hereunder or under any other Letter of Credit Document;

(iii) reduce the principal of, or the rate of interest specified herein on any
Obligation, or any fees or other amounts payable hereunder or under any other Letter of Credit
Document;

(iv) change the percentage of the Commitments or of the aggregate unpaid
amount of the Obligations which is required for the Letter of Credit Issuers or any of them to take
any action hereunder;

(v) amend this Section or any provision of this Agreement providing for
consent or other action by all Letter of Credit Issuers;

(vi) change the definition of “Majority Letter of Credit Issuers”; or
(vii) increase the Total Facility;

provided, however, that no amendment, waiver or consent shall, unless in writing and signed by the
Agent, affect the rights or duties of the Agent under this Agreement or any other Letter of Credit
Document; provided, further, that Schedule 1.1 hereto (Commitments) may be amended from time to time
by the Agent alone to reflect assignments of Commitments in accordance herewith.

(b) If any fees are paid to the Letter of Credit Issuers as consideration for
amendments, waivers or consents with respect to this Agreement, at Agent’s election, such fees may be
paid only to those Letter of Credit Issuers that agree to such amendments, waivers or consents within the
time specified for submission thereof.

11.2 Assigpments.

(a) Any Letter of Credit Issuer may, with the written consent of the Agent (which
consents shall not be unreasonably withheld or delayed), assign and delegate to one or more Eligible
Assignees (provided that no consent of the Agent or the Account Party shall be required in connection
with any assignment and delegation by a Letter of Credit Issuer to an Affiliate of such Letter of Credit
Issuer) (each an “Assignee”) all, or any ratable part of all of the Commitments and the other rights and
obligations of such Letter of Credit Issuer hereunder, in a minimum amount of $5,000,000 (provided that,
unless an assignor Letter of Credit Issuer has assigned and delegated all of its Commitments, no such
assignment and/or delegation shall be permitted unless, after giving effect thereto, such assignor Letter of

23
CH\ll35197.13 029123-0013

 

Credit Issuer retains a Commitment in a minimum amount of $5,000,000); provided, however, that the
Account Party and the Agent may continue to deal solely and directly with such Letter of Credit Issuer in
connection with the interest so assigned to an Assignee until (i) written notice of such assignment,
together with payment instructions, addresses and related information with respect to the Assignee, shall
have been given to the Account Party and the Agent by such Letter of Credit Issuer and the Assignee;
(ii) such Letter of Credit Issuer and its Assignee shall have delivered to the Account Party and the Agent
an Assignment and Acceptance in the form of Exhibit B (“Assignment and Acceptance”) duly executed
by such Letter of Credit Issuer and its Assignee, and such Assignment and Acceptance shall have been
acknowledged by the Agent; and (iii) the assignor Letter of Credit Issuer or Assignee has paid to the
Agent a processing fee in the amount of $3,500. The Account Party agree to promptly execute and
deliver new promissory notes and replacement promissory notes as reasonably requested by the Agent to
evidence assignments of the Commitments in accordance herewith.

(b) From and after the date that the Agent notifies the assignor Letter of Credit Issuer
that it has received an executed Assignment and Acceptance and payment of the above-referenced
processing fee, (i) the Assignee thereunder shall be a party hereto and, to the extent that rights and
obligations have been assigned to it pursuant to such Assignment and Acceptance, shall have the rights
and obligations of a Letter of Credit Issuer under the Letter of Credit Documents, and (ii) the assignor
Letter of Credit Issuer shall, to the extent that rights and obligations hereunder and under the other Letter
of Credit Documents have been assigned by it pursuant to such Assignment and Acceptance, relinquish
its rights and be released from its obligations under this Agreement (and in the case of an Assignment and
Acceptance covering all or the remaining portion of an assigning Letter of Credit Issuer’s rights and
obligations under this Agreement, such Letter of Credit Issuer shall cease to be a party hereto).

(c) By executing and delivering an Assignment and Acceptance, the assigning Letter
of Credit Issuer thereunder and the Assignee thereunder confirm to and agree with each other and the
other parties hereto as follows: (i) other than as provided in such Assignment and Acceptance, such
assigning Letter of Credit Issuer makes no representation or warranty and assumes no responsibility with
respect to any statements, warranties or representations made in or in connection with this Agreement or
the execution, legality, validity, enforceability, genuineness, sufficiency or value of this Agreement or any
other Letter of Credit Document furnished pursuant hereto; (ii) such assigning Letter of Credit Issuer
makes no representation or warranty and assumes no responsibility with respect to the financial condition
of the Account Party or the performance or observance by the Account Party of any of its obligations
under this Agreement or any other Letter of Credit Document fumished pursuant hereto; (iii) such
Assignee confirms that it has received a copy of this Agreement, together with such other documents and
information as it has deemed appropriate to make its own credit analysis and decision to enter into such
Assignment and Acceptance; (iv) such Assignee will, independently and without reliance upon the Agent,
such assigning Letter of Credit Issuer or any other Letter of Credit Issuer, and based on such documents
and information as it shall deem appropriate at the time, continue to make its own credit decisions in
taking or not taking action under this Agreement; (v) such Assignee appoints and authorizes the Agent to
take such action as agent on its behalf and to exercise such powers under this Agreement as are delegated
to the Agent by the terms hereof, together with such powers, including the discretionary rights and
incidental power, as are reasonably incidental thereto; and (vi) such Assignee agrees that it will perform
in accordance with their terms all of the obligations which by the terms of this Agreement are required to
be performed by it as a Letter of Credit Issuer,

(d) lmmediately upon satisfaction of the requirements of Section ll.2§a), this
Agreement shall be deemed to be amended to the extent, but only to the extent, necessary to reflect the
addition of the Assignee and the resulting adjustment of the Commitments arising therefrom. The
Commitment allocated to each Assignee shall reduce such Commitments of the assigning Letter of Credit
Issuer pro tanto.

24
cH\1135197.13 029123-0013

 

 

z

(e) Notwithstanding any other provision in this Agreement, any Letter of Credit
Issuer may at any time create a security interest in, or pledge, all or any portion of its rights under and
interest in this Agreement in favor of any Federal Reserve Bank in accordance with Regulation A of the
FRB or U.S. Treasury Regulation 31 CFR §203.14, and such Federal Reserve Bank may enforce such
pledge or security interest in any manner permitted under applicable law.

ARTICLE 12
THE AGENT

12.1 Appointment and Authorization. Each Letter of Credit Issuer hereby designates and
appoints Bank as its Agent under this Agreement and the other Letter of Credit Documents, and each
Letter of Credit Issuer hereby irrevocably authorizes the Agent to take such action on its behalf under the
provisions of this Agreement and each other Letter of Credit-Document and to exercise such powers and
perform such duties as are expressly delegated to it by the terms of this Agreement or any other Letter of
Credit Document, together with such powers as are reasonably incidental thereto. The Agent agrees to act
as such on the express conditions contained in this Article 12. The provisions of this Article 12 are solely
for the benefit of the Agent and the Letter of Credit Issuers and none of the Account Party shall have any
rights as a third party beneficiary of any of the provisions contained herein, Notwithstanding any
provision to the contrary contained elsewhere in this Agreement or in any other Letter of Credit
Document, the Agent shall not have any duties or responsibilities, except those expressly set forth herein,
nor shall the Agent have or be deemed to have any fiduciary relationship with any Letter of Credit Issuer,
and no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be read into
this Agreement or any other Letter of Credit Document or otherwise exist against the Agent. Without
limiting the generality of the foregoing sentence, the use of the term “agen ” in this Agreement with
reference to the Agent is not intended to connote any fiduciary or other implied (or express) obligations
arising under agency doctrine of any applicable law. Instead, such term is used merely as a matter of
market custom, and is intended to create or reflect only an administrative relationship between
independent contracting parties. Except as expressly otherwise provided in this Agreement, the Agent
shall have and may use its sole discretion with respect to exercising or refraining from exercising any
discretionary rights or taking or refraining from taking any actions which the Agent is expressly entitled
to take or assert under this Agreement and the other Letter of Credit Documents, including the exercise of
remedies pursuant to Section 9.2, and any action so taken or not taken shall be deemed consented to by
the Letter of Credit Issuers.

12.2 Delegation of Duties. The Agent may execute any of its duties under this Agreement or
any other Letter of Credit Document by or through agents, employees or attorneys-in-fact and shall be
entitled to advice of counsel concerning all matters pertaining to such duties. The Agent shall not be
responsible for the negligence or misconduct of any agent or attorney-in-fact that it selects as long as such
selection was made without gross negligence or willful misconduct

12.3 Liabilig of Agent. None of the Agent-Related Persons shall (i) be liable for any action
taken or omitted to be taken by any of them under or in connection with this Agreement or any other
Letter of Credit Document or the transactions contemplated hereby (except for its own gross negligence
or willful misconduct), or (ii) be responsible in any manner to any of the Letter of Credit Issuers for any
recital, statement, representation or warranty made by the Account Party or any Other Subsidiary or
Affiliate of the Account Party, or any officer thereof, contained in this Agreement or in any other Letter
of Credit Document, or in any certificate, report, statement or other document referred to or provided for
in, or received by the Agent under or in connection with, this Agreement or any other Letter of Credit
Document, or the validity, effectiveness, genuineness, enforceability or sufficiency of this Agreement or
any other Letter of Credit Document, or for any failure of the Account Party or any other party to any

25
CH\1135197.13 029123-0013

 

Letter of Credit Document to perform its obligations hereunder or thereunder. No Agent-Related Person
shall be under any obligation to any Letter of Credit Issuer to ascertain or to inquire as to the observance
or performance of any of the agreements contained in, or conditions of, this Agreement or any other
Letter of Credit Document, or to inspect the properties, books or records of the Account Party or any
Other Subsidiaries or Affiliates.

12.4 Reliance by Agent. The Agent shall be entitled to rely, and shall be fully protected in
relying, upon any writing, resolution, notice, consent, certificate, affidavit, letter, telegram, facsimile,
telex or telephone message, statement or other document or conversation believed by it to be genuine and
correct and to have been signed, sent or made by the proper Person or Persons, and upon advice and
statements of legal counsel (including counsel to the Account Party), independent accountants and other
experts selected by the Agent. The Agent shall be fully justified in failing or refusing to take any action
under this Agreement or any other Letter of Credit Document unless it shall first receive such advice or
concurrence of the Majority Letter of Credit Issuers as it deems appropriate and, if it so requests, it shall
first be indemnified to its satisfaction by the Letter of Credit Issuers against any and all liability and
expense which may be incurred by it by reason of taking or continuing to take any such action. The
Agent shall in all cases be fully protected in acting, or in refraining from acting, under this Agreement or
any other Letter of Credit Document in accordance with a request or consent of the Majority Letter of
Credit Issuers (or all Letter of Credit Issuers if so required by Section 11.1) and such request and any
action taken or failure to act pursuant thereto shall be binding upon all of the Letter of Credit Issuers.

12.5 Notice of Default. The Agent shall not be deemed to have knowledge or notice of the
occurrence of any Default or Event of Default, unless the Agent shall have received written notice from a
Letter of Credit Issuer or the Account Party referring to this Agreement, describing such Default or Event
of Default and stating that such notice is a “notice of default.” The Agent will notify the Letter of Credit
Issuers of its receipt of any such notice, The Agent shall take such action with respect to such Default or
Event of Default as may be requested by the Maj ority Letter of Credit Issuers in accordance with Section
Q; provided, however, that unless and until the Agent has received any such request, the Agent may (but
shall not be obligated to) take such action, or refrain from taking such action, with respect to such Default
or Event of Default as it shall deem advisable.

12.6 Credit Decision. Each Letter of Credit Issuer acknowledges that none of the
Agent-Related Persons has made any representation or warranty to it, and that no act by the Agent
hereinafter taken, including any review of the affairs of the Account Party and its Affiliates, shall be
deemed to constitute any representation or warranty by any Agent-Related Person to any Letter of Credit
Issuer. Each Letter of Credit Issuer represents to the Agent that it has, independently and without reliance
upon any Agent-Related Person and based on such documents and information as it has deemed
appropriate, made its own appraisal of and investigation into the business, prospects, operations, property,
financial and other condition and creditworthiness of the Account Party and its Affiliates, and all
applicable bank regulatory laws relating to the transactions contemplated hereby, and made its own
decision to enter into this Agreement and to extend credit to the Account Party. Each Letter of Credit
Issuer also represents that it will, independently and without reliance upon any Agent-Related Person and
based on such documents and information as it shall deem appropriate at the time, continue to make its
own credit analysis, appraisals and decisions in taking or not taking action under this Agreement and the
other Letter of Credit Documents, and to make such investigations as it deems necessary to inform itself
as to the business, prospects, operations, property, financial and other condition and creditworthiness of
Account Party. Except for notices, reports and other documents expressly herein required to be furnished
to the Letter of Credit Issuers by the Agent, the Agent shall not have any duty or responsibility to provide
any Letter of Credit Issuer with any credit or other information concerning the business, prospects,
operations, property, financial and other condition or creditworthiness of the Account Party which may
come into the possession of any of the Agent-Related Persons.

26
CH\1135197.13 029123-0013

 

 

 

12.7 lndemnification. Whether or not the transactions contemplated hereby are consummated,
the Letter of Credit Issuers shall indemnify upon demand the Agent-Related Persons (to the extent not
reimbursed by or on behalf of the Account Party and without limiting the obligation of the Account Party
to do so), in accordance with their Pro Rata Shares, from and against any and all lndemnified Liabilities
as such term is defined in Section 13.11; provided, however, that no Letter of Credit Issuer shall be liable
for the payment to the Agent-Related Persons of any portion of such lndemnified Liabilities resulting
solely from such Person’s gross negligence or willful misconduct Without limitation of the foregoing,
each Letter of Credit Issuer shall reimburse the Agent upon demand for its Pro Rata Share of any costs or
out-of-pocket expenses (including Attorney Costs) incurred by the Agent in connection with the
preparation, execution, delivery, administration, modification, amendment or enforcement (whether
through negotiations, legal proceedings or otherwise) of, or legal advice in respect of rights or
responsibilities under, this Agreement, any other Letter of Credit Document, or any document
contemplated by or referred to herein, to the extent that the Agent is not reimbursed for such expenses by
or on behalf of the Account Party. The undertaking in this Section shall survive the payment of all
Obligations hereunder and the resignation or replacement of the Agent.

12.8 Agent in Individual Capacitv. The Bank and its Affiliates may make loans to, issue
letters of credit for the account of, accept deposits from, acquire equity interests in and generally engage
in any kind of banking, trust, financial advisory, underwriting or other business with the Account Party
and its Subsidiaries and Affiliates as though the Bank were not the Agent hereunder and without notice to
or consent of the Letter of Credit Issuers, The Bank or its Affiliates may receive information regarding
the Account Party and its Affiliates (including information that may be subject to confidentiality
obligations in favor of such Account Party or such Subsidiary) and acknowledge that the Agent and the
Bank shall be under no obligation to provide such information to them.

 

12.9 Successor Agent. The Agent may resign as Agent upon at least thirty (30) days’ prior
notice to the Letter of Credit Issuers and the Account Party, such resignation to be effective upon the
acceptance of a successor agent to its appointment as Agent. In the event the Bank sells all of its
Commitment as part of a sale, transfer or other disposition by the Bank of substantially all of its letter of
credit portfolio, the Bank shall resign as Agent and such purchaser or transferee shall become the
successor Agent hereunder. Subject to the foregoing, if the Agent resigns under this Agreement, the
Majority Letter of Credit Issuers shall appoint from among the Letter of Credit Issuers a successor agent
for the Letter of Credit Issuers. If no successor agent is appointed prior to the effective date of the
resignation of the Agent, the Agent may appoint, after consulting with the Letter of Credit Issuers and the
Account Party, a successor agent from among the Letter of Credit Issuers, Upon the acceptance of its
appointment as successor agent hereunder, such successor agent shall succeed to all the rights, powers
and duties of the retiring Agent and the term “Agent” shall mean such successor agent and the retiring
Agent’s appointment, powers and duties as Agent shall be terminated. After any retiring Agent’s
resignation hereunder as Agent, the provisions of this Article 12 shall continue to inure to its benefit as to
any actions taken or omitted to be taken by it while it was Agent under this Agreement.

12. 10 Withholding Tax.

(a) If any Letter of Credit Issuer claims exemption from, or reduction of,
withholding tax under a United States of America tax treaty by providing IRS Forrn W-8BEN and such
Letter of Credit Issuer sells, assigns, or otherwise transfers all or part of the Obligations owing to such
Letter of Credit Issuer, such Letter of Credit Issuer agrees to notify the Agent of the percentage amount in
which it is no longer the beneficial owner of Obligations of the Account Party to such Letter of Credit
Issuer. To the extent of such percentage amount, the Agent will treat such Letter of Credit Issuer’s IRS
Form W-8BEN as no longer valid.

27
CH\1135197.13 029123-0013

(b) If any Letter of Credit Issuer claiming exemption from United States of America
withholding tax by filing IRS Form W-8ECI with the Agent sells, assigns, or otherwise transfers all or
part of the Obligations owing to such Letter of Credit Issuer, such Letter of Credit Issuer agrees to
undertake sole responsibility for complying with the withholding tax requirements imposed by Sections
1441 and 1442 of the Code.

(c) If any Letter of Credit Issuer is entitled to a reduction in the applicable
withholding tax, the Agent may withhold from any interest payment to such Letter of Credit Issuer an
amount equivalent to the applicable withholding tax after taking into account such reduction. If the forms
or other documentation required by Section 4.1la1 are not delivered to the Agent, then the Agent may
withhold from any interest payment to such Letter of Credit Issuer not providing such forms or other
documentation an amount equivalent to the applicable withholding tax.

(d) If the IRS or any other Governmental Authority of the United States of America
or other jurisdiction asserts a claim that the Agent did not properly withhold tax from amounts paid to or
for the account of any Letter of Credit Issuer (because the appropriate form was not delivered, was not
properly executed, or because such Letter of Credit Issuer failed to notify the Agent of a change in
circumstances which rendered the exemption from, or reduction of, withholding tax ineffective, or for any
other reason) such Letter of Credit Issuer shall indemnify the Agent fully for all amounts paid, directly or
indirectly, by the Agent as tax or otherwise, including penalties and interest, and including any taxes
imposed by any jurisdiction on the amounts payable to the Agent under this Section, together with all
costs and expenses (including Attorney Costs). The obligation of the Letter of Credit Issuers under this
subsection shall survive the payment of all Obligations and the resignation or replacement of the Agent.

12.11 Restrictions on Actions bv Letter of Credit Issuers; Sharing of Pavments.

(a) Each of the Letter of Credit Issuers agrees that it shall not, without the express
consent of all Letter of Credit Issuers, and that it shall, to the extent it is lawfully entitled to do so, upon
the request of all Letter of Credit Issuers, set off against the Obligations, any amounts owing by such
Letter of Credit Issuer to the Account Party or any accounts of the Account Party now or hereafter
maintained with such Letter of Credit Issuer. Each of the Letter of Credit Issuers further agrees that it
shall not, unless specifically requested to do so by the Agent, take or cause to be taken any action to
enforce its rights under this Agreement or against the Account Party.

(b) lf at any time or times any Letter of Credit Issuer shall receive (i) by payment,
foreclosure, setoff or otherwise, any proceeds of Collateral or any payments with respect to the
Obligations of the Account Party to such Letter of Credit Issuer arising under, or relating to, this
Agreement or the other Letter of Credit Documents, except for any such proceeds or payments received
by such Letter of Credit Issuer from the Agent pursuant to the terms of this Agreement, or (ii) payments
from the Agent in excess of such Letter of Credit Issuer’s ratable portion of all such distributions by the
Agent, such Letter of Credit Issuer shall promptly turn the same over to the Agent, in kind, and with such
endorsements as may be required to negotiate the same to the Agent, or in same day funds, as applicable,
for the account of all of the Letter of Credit Issuers and for application to the Obligations in accordance
with the applicable provisions of this Agreement.

12. 12 Pavments bv Agent to Letter of Credit Issuers. All payments to be made by the Agent to
the Letter of Credit Issuers shall be made by bank wire transfer or internal transfer of immediately
available funds to each Letter of Credit Issuer pursuant to wire transfer instructions delivered in writing to
the Agent on or prior to the Closing Date (or if such Letter of Credit Issuer is an Assignee, on the
applicable Assignment and Acceptance), or pursuant to such other wire transfer instructions as each party
may designate for itself by written notice to the Agent. Concurrently with each such payment, the Agent

28
CH\1135197.13 029123-0013

 

shall identify whether such payment (or any portion thereof) represents repayment of a reimbursement
obligation, interest thereon or other amounts payable hereunder. Unless the Agent receives notice from
the Account Party prior to the date on which any payment is due to the Letter of Credit Issuers that the
Account Party will not make such payment in full as and when required, the Agent may assume that the
Account Party has made such payment in full to the Agent on such date in immediately available funds
and the Agent may (but shall not be so required), in reliance upon such assumption, distribute to each
Letter of Credit Issuer on such due date an amount equal to the amount then due such Letter of Credit
Issuer. If and to the extent the Account Party has not made such payment in full to the Agent, each Letter
of Credit Issuer shall repay to the Agent on demand such amount distributed to such Letter of Credit
Issuer, together with interest thereon at the Federal Funds Rate for each day from the date such amount is
distributed to such Letter of Credit Issuer until the date repaid.

12.13 Letter of Credit Issuers’ F ailure to Perform. It is understood that (i) no Letter of Credit
Issuer shall be responsible for any failure by any other Letter of Credit Issuer to perform its obligation to
issue any Letter of Credit hereunder; nor shall any Commitment of any Letter of Credit Issuer be
increased or decreased as a result of any failure by any other Letter of Credit Issuer to perform its
obligation to issue any Letter of Credit hereunder, (ii) no failure by any Letter of Credit Issuer to perform
its obligation to issue any Letter of Credit hereunder shall excuse any other Letter of Credit Issuer from its
obligation to issue any Letter of Credit hereunder, and (iii) the obligations of each Letter of Credit Issuer
hereunder shall be several, not joint and several.

12. 14 Relation Among Letter of Credit Issuers. The Letter of Credit Issuers are not partners or
co-venturers, and no Letter of Credit Issuer shall be liable for the acts or omissions of, or (except as
otherwise set forth herein in case of the Agent) authorized to act for, any other Letter of Credit Issuer.

ARTICLE 13
MISCELLANEOUS

13.1 No Waivers; Cumulative Remedies. No failure by the Agent or any Letter of Credit

Issuer to exercise any right, remedy, or option under this Agreement or any present or future supplement
thereto, or in any other agreement between or among the Account Party and the Agent and/or any Letter
of Credit Issuer, or delay by the Agent or any Letter of Credit Issuer in exercising the same, will operate
as a waiver thereof. No waiver by the Agent or any Letter of Credit Issuer will be effective unless it is in
writing, and then only to the extent specifically stated. No waiver by the Agent or the Letter of Credit
Issuers on any occasion shall affect or diminish the Agent’s and each Letter of Credit Issuer’s rights
thereafter to require strict performance by the Account Party of any provision of this Agreement. The
Agent and the Letter of Credit Issuers may proceed directly to collect the Obligations without any prior
recourse to the Collateral. The Agent’s and each Letter of Credit Issuer’s rights under this Agreement
will be cumulative and not exclusive of any other right or remedy which the Agent or any Letter of Credit
Issuer may have.

13.2 Severability. The illegality or unenforceability of any provision of this Agreement or any
Letter of Credit Document or any instrument or agreement required hereunder shall not in any way affect
or impair the legality or enforceability of the remaining provisions of this Agreement or any instrument or
agreement required hereunder.

13.3 Governing Law; Choice of Forum; Service of Process.

(a) IN THE EVENT OF A CONFLICT BETWEEN THE TERMS OF THIS
AGREEMENT AND THE FACILITY ORDER, THE FACILITY ORDER SHALL CONTROL. THIS

29
cH\1135197.13 029123-0013

 

AGREEMENT SHALL BE INTERPRETED AND THE RIGHTS AND LlABlLITIES OF THE
PARTlES HERETO DETERMINED IN ACCORDANCE WITH THE INTERNAL LAWS (AS
OPPOSED TO THE CONFLICT OF LAWS PROVISIONS PROVIDED THAT PERFECTION ISSUES
WITH RESPECT TO ARTICLE 9 OF THE UCC MAY GIVE EFFECT TO APPLICABLE CHOICE
OR CONFLICT OF LAW RULES SET FORTH IN ARTICLE 9 OF THE UCC) OF THE STATE OF
NEW YORK TO THE EXTENT NOT PREEMPTED BY FEDERAL BANKRUPTCY LAWS;
PROVIDED THAT THE AGENT AND THE LETTER OF CREDIT ISSUERS SHALL RETAIN ALL
RIGHTS ARISING UNDER FEDERAL LAW.

(b) ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
AGREEMENT OR ANY OTHER LETTER OF CREDIT DOCUMENT MAY BE BROUGHT IN THE
BANKRUPTCY COURT (OR, [F THE BANKRUPTCY CASE IS DISMISSED, OR WITH RESPECT
TO ANY APPLICANT WHICH IS NO LONGER SUBJECT TO THE JURISDICTION OF THE
BANKRUPTCY COURT, lN THE FEDERAL, DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF NEW YORK, AND BY EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH OF THE
ACCOUNT PARTY, THE AGENT AND TI-[E LETTER OF CREDIT ISSUERS CONSENTS, FOR
ITSELF AND lN RESPECT OF ITS PROPERTY, TO THE JURlSDICTION GF SUCH COURTS.
EACH OF THE ACCOUNT PARTY, THE AGENT AND THE LETTER OF CREDIT ISSUERS
IRREVOCABLY WAIVES ANY OBJECTION, INCLUDING ANY OBJECTION TO THE LAYING
OF VENUE OR BASED ON THE GROUNDS OF FORUM NON CONVENIENS, WHICH IT MAY
NOW OR HEREAFTER HAVE TO THE BRINGING OF ANY ACTION OR PROCEEDING IN SUCH
JURISDICTION IN RESPECT OF THIS AGREEMENT OR ANY DOCUMENT RELATED HERETO.

(c) EACH APPLICANT HEREBY WAIVES PERSONAL SERVICE OF ANY
AND ALL PROCESS UPON IT AND CONSENTS THAT ALL SUCH SERVICE OF PROCESS MAY
BE MADE BY FACSIMILE OR BY REGISTERED MAIL (RETURN RECEIPT REQUESTED)
DlRECTED TO THE APPLICANT REPRESENTATIVE AT ITS ADDRESS SET FORTH IN
SECTION 13.8 AND SERVICE SO MADE SHALL BE DEEMED TO BE COMPLETED UPON THE
EARLIER OF RECEIPT OR FIVE (5) DAYS AFTER THE SAME SHALL HAVE BEEN SO
DEPOSITED IN THE U.S. MAILS POSTAGE PREPAID. NOTHING CONTAINED HEREIN SHALL
AFFECT THE RIGHT OF THE AGENT OR THE LETTER OF CREDIT ISSUERS TO SERVE
LEGAL PROCESS BY ANY OTHER MANNER PERMITTED BY LAW.

13.4 WAIVER OF JURY TRIAL. THE ACCOUNT PARTY, THE LETTER OF CREDIT
ISSUERS AND THE AGENT EACH IRREVOCABLY WAIVE THEIR RESPECTIVE RIGHTS TO A
TRIAL BY JURY OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF
OR RELATED TO THIS AGREEMENT, THE OTHER LETTER OF CREDIT DOCUMENTS, OR
THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY, lN ANY ACTION,
PROCEEDING OR OTHER LITIGATION OF ANY TYPE BROUGHT BY ANY OF THE PARTIES
AGAINST ANY OTHER PARTY OR ANY AGENT-RELATED PERSON, PARTIC[PANT OR
ASSIGNEE, WHETHER WITH RESPECT TO CONTRACT CLAIMS, TORT CLAIMS, OR
OTHERWISE. THE ACCOUNT PARTY, THE LETTER OF CREDIT ISSUERS AND THE AGENT
EACH AGREE THAT ANY SUCH CLAIM OR CAUSE OF ACTION SHALL BE TRIED BY A
COURT TRlAL WITHOUT A JURY. WITHOUT LIMITING THE FOREGOING, THE PARTIES
FURTHER AGREE THAT THE[R RESPECTIVE RIGHT TO A TRIAL BY JURY IS WAIVED BY
OPERATION OF THIS SECTION AS TO ANY ACTION, COUNTERCLAIM OR OTHER
PROCEEDING WHICH SEEKS, IN WHOLE OR IN PART, TO CHALLENGE THE VALlDITY OR
ENFORCEABILITY OF THIS AGREEMENT OR THE OTHER LETTER OF CREDIT DOCUMENTS
OR ANY PROVISION HEREOF OR THEREOF. THlS WAIVER SHALL APPLY TO ANY
SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS TO THIS
AGREEMENT AND THE OTHER LETTER OF CREDIT DOCUMENTS.

 

30
CH\ll35197.l3 029123-0013

 

13.5 Survival of Representations and Warranties. All of the Account Party’s representations
and warranties contained in this Agreement shall survive the execution, delivery, and acceptance thereof
by the parties, notwithstanding any investigation by the Agent or the Letter of Credit Issuers or their
respective agents.

13.6 Other Securitv and Guaranties. The Agent, may, without notice or demand and without
affecting the Account Party’ obligations hereunder, from time to time; (a) take from any Person and hold
collateral (other than funds on deposit in the Cash Collateral Accounts) for the payment of all or any part
of the Obligations and exchange, enforce or release such collateral or any part thereof; and (b) accept and
hold any endorsement or guaranty of payment of all or any part of the Obligations and release or
substitute any such endorser or guarantor, or any Person who has given any Lien in any other collateral as
security for the payment of all or any part of the Obligations, or any other Person in any way obligated to
pay all or any part of the Obligations

13.7 Fees and Expenses. The Account Party agrees to pay to the Agent, for its benefit, on
demand, all costs and expenses that Agent pays or incurs in connection with the negotiation, preparation,
syndication, consummation, administration, enforcement, and termination of this Agreement or any of the
other Letter of Credit Documents, including: (a) Attorney Costs; (b) costs and expenses (including
reasonable, documented attorneys’ and paralegals’ fees and disbursements) for any amendment,
supplement, waiver, consent, or subsequent closing in connection with the Letter of Credit Documents
and the transactions contemplated thereby; and (c) sums paid or incurred to pay any amount or take any
action required of the Account Party under the Letter of Credit Documents that the Account Party fails to
pay or take. ln addition, the Account Party agree to pay costs and expenses incurred by the Agent
(including Attorneys’ Costs) to the Agent, for its benefit, on demand, and to the other Letter of Credit
Issuers for their benefit, on demand, and all reasonable fees, expenses and disbursements incurred by such
other Letter of Credit Issuers for one law firm retained by such other Letter of Credit Issuers, in each case
Attomeys’ Costs) paid or incurred to obtain payment of the Obligations and otherwise enforce the
provisions of the Letter of Credit Documents, or to defend any claims made or threatened against the
Agent or any Letter of Credit Issuer arising out of the transactions contemplated hereby (including
preparations for and consultations concerning any such matters). The foregoing shall not be construed to
limit any other provisions of the Letter of Credit Documents regarding costs and expenses to be paid by
the Account Party.

13.8 Notices. Except as otherwise provided herein, all notices, demands and requests that any
party is required or elects to give to any other shall be in writing, or by a telecommunications device
capable of creating a written record, and any such notice shall become effective (a) upon personal
delivery thereof, including, but not limited to, delivery by overnight mail and courier service, (b) four (4)
days after it shall have been mailed by United States mail, first class, certified or registered, with postage
prepaid, or (c) in the case of notice by such a telecommunications device, when properly transmitted, in
each case addressed to the party to be notified as follows:

If to the Agent or to the Bank:

Bank of America, N.A.
335 Madison Avenue
New York, New York 10017
Attention: Allan Juleus
and
Ed Kahn
Facsimile No.: (312) 453-3977

31
CH\1135197.13 029123-0013

 

with copies to:

Latham & Watkins
233 South Wacker Drive, Suite 5800
Chicago, lllinois 60606
Attention: David S. Heller
and
Jeffrey G. Moran
Facsimile No.: (312) 993-9767

If to the Account Party, to the Account Party:

W. R. Grace & Co.-Conn.
7500 Grace Drive

Columbia, Maryland 21044
Attention: AsifArshad
Facsimile No.: (410) 531-4461

with a copy to:

Kirkland & Ellis

601 Lexington Avenue

New York, New York 10022
Attention: Theodore L. Freedman
Facsimile No.: (212) 446-4900

or to such other address as each party may designate for itself by like notice. Failure or delay in
delivering copies of any notice, demand, request, consent, approval, declaration or other communication
to the persons designated above to receive copies shall not adversely affect the effectiveness of such
notice, demand, request, consent, approval, declaration or other communication.

13.9 Waiver of Notices. Unless otherwise expressly provided herein, the Account Party waive
presentment, and notice of demand or dishonor and protest as to any instrument, notice of intent to
accelerate the Obligations and notice of acceleration of the Obligations, as well as any and all other
notices to which the Account Party might otherwise be entitled. No notice to or demand on the Account
Party which the Agent or any Letter of Credit Issuer may elect to give shall entitle the Account Party to
any or further notice or demand in the same, similar or other circumstances.

13.10 Binding Effect. The provisions of this Agreement shall be binding upon and inure to the
benefit of the respective representatives, successors, and permitted assigns of the parties hereto; provided,
however, that no interest herein may be assigned by the Account Party without prior written consent of
the Agent and each Letter of Credit Issuer. The rights and benefits of the Agent and the Letter of Credit
Issuers hereunder shall, if such Persons so agree, inure to any party acquiring any interest in the
Obligations or any part thereof,

13.1 1 lndemnitv of the Agent and the Letter of Credit Issuers bv the Account Partv.

(a) The Account Party agrees to defend, indemnify and hold the Agent-Related
Persons, and each Letter of Credit Issuer and each of its respective officers, directors, employees, counsel,
representatives, agents and attorneys-in-fact (each, an “lndemnified Person”) harmless from and against
any and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, charges,

32
cH\1135197.13 029123-0013

~ -1:1.1`.::: :.1,':m '_-. ;c.-: -:. -.~:".

-.1=::1,':.1v1~1-»~ 1~ 171111111 11 - 11

-v-r:

11_... _7__` main

 

expenses and disbursements (including Attorney Costs) of any kind or nature whatsoever which may at
any time (including at any time following repayment of the Obligations and the terrnination, resignation
or replacement of the Agent or replacement of any Letter of Credit Issuer) be imposed on, incurred by or
asserted against any such Person in any way relating to or arising out of this Agreement or any document
contemplated by or referred to herein, or the transactions contemplated hereby, or any action taken or
omitted by any such Person under or in connection with any of the foregoing, including with respect to
any investigation, litigation or proceeding (including any insolvency proceeding or appellate proceeding)
related to or arising out of this Agreement, any other Letter of Credit Document, or the Letters of Credit
or the use of the proceeds thereof, whether or not any lndemnified Person is a party thereto (all the
foregoing, collectively, the “lndemnified Liabilities”); provided, that the Account Party shall not have any
obligation hereunder to any lndemnified Person with respect to lndemnified Liabilities resulting solely
from the gross negligence or willful misconduct of such lndemnified Person. The agreements in this
Section shall survive payment of all other Obligations.

(b) The Account Party agrees to indemnify, defend and hold harmless the Agent and
the Letter of Credit Issuers from any loss or liability imposed upon or incurred by any such Person
directly or indirectly arising out of the use, generation, manufacture, production, storage, release,
threatened release, discharge, disposal or presence of a hazardous substance relating to the Account
Party’s operations, business or property. This indemnity will apply whether the hazardous substance is
on, under or about the Account Party’s property or operations or property leased to the Account Party.
The indemnity includes but is not limited to Attorneys Costs. The indemnity extends to the Agent and the
Letter of Credit Issuers, their parents, affiliates, Subsidiaries and all of their directors, officers, employees,
agents, successors, attorneys and assigns. “Hazardous substances” means any substance, material or
waste that is or becomes designated or regulated as “toxic,” “hazardous,” “pollutant,” or “contaminant” or
a similar designation or regulation under any federal, state or local law (whether under common law,
statute, regulation or otherwise) or judicial or administrative interpretation of such, including petroleum
or natural gas. This indemnity will survive repayment of all other Obligations.

13.12 Limitation of Liability. NO CLAIM MAY BE MADE BY ANY APPLICANT, ANY
LETTER OF CREDIT ISSUER OR OTHER PERSON AGAINST THE AGENT, ANY LETTER OF
CREDIT ISSUER OR THE AFFILIATES, DIRECTORS, OFFICERS, EMPLOYEES, COUNSEL,
REPRESENTATIVES, AGENTS OR ATTORNEYS IN FACT OF ANY OF THEM FOR ANY
SPECIAL, INDIRECT, CONSEQUENTIAL OR PUNITIVE DAMAGES IN RESPECT OF ANY
CLAIM FOR BREACH OF CONTRACT OR ANY OTHER THEORY OF LLABILITY ARISING OUT
OF OR RELATED TO THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT OR ANY
OTHER LETTER OF CREDIT DOCUMENT, OR ANY ACT, OMISSION OR EVENT OCCURRING
IN CONNECTION THEREWITH, AND ANY APPLICANT AND EACH LETTER OF CREDIT
ISSUER HEREBY WAIVE, RELEASE AND AGREE NOT TO SUE UPON ANY CLAIM FOR SUCH
DAMAGES, WHETHER OR NOT ACCRUED AND WH]:`,TI-[ER OR NOT KNOWN OR SUSPECTED
TO EXIST IN ITS FAVOR.

13. 13 Final Ag§eement. This Agreement and the other Letter of Credit Documents are intended
by the Account Party, the Agent and the Letter of Credit Issuers to be the final, complete, and exclusive
expression of the agreement between them. This Agreement supersedes any and all prior oral or written
agreements relating to the subject matter hereof. No modification, rescission, waiver, release, or
amendment of any provision of this Agreement or any other Letter of Credit Document shall be made,
except by a written agreement signed by the Account Party and a duly authorized officer of each of the
Agent and the requisite Letter of Credit Issuers.

13. 14 Counte;parts. This Agreement may be executed in any number of counterparts, and by
the Agent, each Letter of Credit Issuer and the Account Party in separate counterparts, each of which shall

33
CH\1135197.13 029123-0013

 

,-1~111~.1-_ _~T~:-...-:nn»~"-v~.~.~.-.- 11111 ~ 1

 

be an original, but all of which shall together constitute one and the same agreement; signature pages may
be detached from multiple separate counterparts and attached to a single counterpart so that all signature
pages are physically attached to the same document.

13. 15 Captions. The captions contained in this Agreement are for convenience of reference
only, are without substantive meaning and should not be construed to modify, enlarge, or restrict any
provision,

13.16 Right of Setoff. In addition to any rights and remedies of the Letter of Credit Issuers
provided by law, if an Event of Default exists, subject to Section 3.3(b), each Letter of Credit Issuer is
authorized at any time and from time to time, without prior notice to the Account Party, any such notice
being waived by the Account Party to the fullest extent permitted by law, to set off and apply any and all
deposits (general or special, time or demand, provisional or final) at any time held by, and other
indebtedness at any time owing by, such Letter of Credit Issuer or any Affiliate of such Letter of Credit
Issuer to or for the credit or the account of the Account Party against any and all Obligations owing to
such Letter of Credit Issuer, now or hereafter existing, irrespective of whether or not the Agent or such
Letter of Credit Issuer shall have made demand under this Agreement or any Letter of Credit Document
and although such Obligations may be contingent or unmatured. Each Letter of Credit Issuer agrees
promptly to notify the Account Party and the Agent after any such set-off and application made by such
Letter of Credit Issuer; provided, however, that the failure to give such notice shall not affect the validity
of such set-off and application. NOTWITHSTANDING THE FOREGOING, NO LETTER OF CREDIT
ISSUER SHALL EXERCISE ANY RIGHT OF SET-OFF, BANKER’S LIEN, OR THE LIKE
AGAINST ANY DEPOSIT ACCOUNT OR PROPERTY OF ANY APPLICANT HELD OR
MAlNTAINED BY SUCH LETTER OF CREDIT ISSUER WITHOUT THE PRIOR WRITTEN
UNANIMOUS CONSENT OF THE LETTER OF CREDIT ISSUERS.

 

13. 17 Confidentialig.

(a) The Account Party hereby consent that the Agent and each Letter of Credit Issuer
may issue and disseminate to the public general information describing the credit accommodation entered
into pursuant to this Agreement, including the names and addresses of the Account Party and a general
description of the Account Party’s business and may use the Account Party’ names in advertising and
other promotional material.

(b) Each Letter of Credit Issuer severally agrees to take normal and reasonable
precautions and exercise due care to maintain the confidentiality of all information identified as
“confidential” or “secret” by the Account Party and provided to the Agent or such Letter of Credit Issuer
by or on behalf of the Account Party, under this Agreement or any other Letter of Credit Document,
except to the extent that such information (i) was or becomes generally available to the public other than
as a result of disclosure by the Agent or such Letter of Credit Issuer, or (ii) was or becomes available on a
non-confidential basis from a source other than the Account Party; provided that such source is not bound
by a confidentiality agreement with the Account Party known to the Agent or such Letter of Credit Issuer;
provided, however, that the Agent and any Letter of Credit Issuer may disclose such information (1) at the
request or pursuant to any requirement of any Govemmental Authority to which the Agent or such Letter
of Credit Issuer is subject or in connection wi_th an examination of the Agent or such Letter of Credit
Issuer by any such Govemmental Authority; (2) pursuant to subpoena or other court process; (3) when
required to do so in accordance with the provisions of any applicable Requirement of Law; (4) to the
extent reasonably required in connection with any litigation or proceeding (including, but not limited to,
any bankruptcy proceeding) to which the Agent, any Letter of Credit Issuer or their respective Affiliates
may be party; (5) to the extent reasonably required in connection with the exercise of any remedy
hereunder or under any other Letter of Credit Document; (6) to the Agent’s or such Letter of Credit

34
cH\1135197.13 029123-0013

~;'~:.~<"rc-:.zw1.-~_::vve'::v.*m1.' 1

4 111-11?.‘.'1:'Wr.;“'>~n1-:<::.-..~.1~. .1 -f-~ :

 

Issuer’s independent auditors, accountants, attorneys and other professional advisors; (7) to any
prospective Assignee under any Assignment and Acceptance, actual or potential; provided that such
prospective Assignee agrees to keep such information confidential to the same extent required of the
Agent and the Letter of Credit Issuers hereunder; (8) as expressly permitted under the terms of any other
document or agreement regarding confidentiality to which the Account Party is party or is deemed party
with the Agent or such Letter of Credit Issuer, and (9) to its Affiliates.

13.18 Conflicts with Other Letter of Credit Documents. Unless otherwise expressly provided in
this Agreement (or in another Letter of Credit Document by specific reference to the applicable provision
contained in this Agreement), if any provision contained in this Agreement conflicts with any provision
of any other Letter of Credit Document, the provision contained in this Agreement shall govern and
control.

[signature page follows]

35
cH\1135197.13 029123-0013

 

IN WITNESS WHEREOF, the parties have entered into this Agreement on the date first
above written.

ACCOUNT PARTY:
W. R. Grace & Co.-Conn., as Account Party

By:
Its Senior Vice President or Vice President

 

AGENT:
BANK OF AMERICA, N.A., as the Agent

By:
Title:

 

 

LETTER OF CREDIT ISSUER:

BANK OF AMERICA, N.A., as a Letter of Credit
Issuer

By:

 

Title:

 

36
CH\1135197.13 029123-0013

 

1#:1\111~.*'1,~ ~vv:.~.',\n.~:n"v-.~ 1. r11r1~111~ 11 11:~ -

 

ANNEX A
to

Credit Agreement

Definitions

Capitalized terms used in the Letter of Credit Documents shall have the following
respective meanings (unless otherwise defined therein), and all section references in the following
definitions shall refer to sections of the Agreement:

“ACH Transactions” means any cash management or related services including the
automatic clearing house transfer of funds by the Bank for the account of the Account Party pursuant to
agreement or overdrafts.

“Affiliate” means, as to any Person, any other Person which, directly or indirectly, is in
control of, is controlled by, or is under common control with, such Person or which owns, directly or
indirectly, ten percent (10%) or more of the outstanding equity interest of such Person. A Person shall be
deemed to control another Person if the controlling Person possesses, directly or indirectly, the power to
direct or cause the direction of the management and policies of the other Person, whether through the
ownership of voting securities, by contract, or otherwise.

“Administration Fee” has the meaning specified in Section 2.3§ b 1.
“Agent” has the meaning set forth in the Preamble to the Agreement.

“Agent-Related Persons” means the Agent, together with its Affiliates, and the officers,
directors, employees, counsel, representatives, agents and attorneys-in-fact of the Agent and such
Affiliates.

“Agreemen ” means the Post-Petition Letter of Credit Facility Agreement to which this
Annex A is attached, as from time to time amended, modified or restated.

“Account Pam;” has the meaning set forth in the Preamble to the Agreement.

“ pplicable Percentage” means, with respect to the payment of the Unused Line Fee, for
each month (or lesser period as applicable), if the average daily Availability during such month (or such
lesser period) is (i) less than or equal to $50,000,000, 0.50% per annum, or (ii) greater than $50,000,000,
0.75%per annum.

“Assignee” has the meaning specified in Section 11.2§a).
“Assignment and Acceptance” has the meaning specified in Section 11.2§a).

“Attorney Costs” means and includes all reasonable documented fees, expenses and
disbursements of any law firm or other counsel engaged by the Agent, the reasonably allocated costs and
expenses of internal legal services of the Agent.

“Availabilig” means, at any time (a) the lesser of (i) an amount equal to 95.24% of the
L/C Cash Collateral Account Balance at such time or (ii) $100,000,000, minus, (b) in each case, the
aggregate outstanding face amount of all Letters of Credit.

CH\1135197.13 029123-0013

 

“Bank” means Bank of America, N.A., a national banking association, or any successor
entity thereto.

“Bank Products” means any one or more of the following types of services or facilities
extended to the Account Party by the Bank or any affiliate of the Bank in reliance on the Bank’s
agreement to indemnify such affiliate: (i) credit cards; (ii) ACH Transactions; (iii) cash management,
including controlled disbursement services; and (iv) Hedge Agreements.

“Bankruptcy Case” has the meaning specified in the recitals to this Agreement.

“Bankruptcy Code” means Title 11 of the United States Code (11 U.S.C. § 101 e_t M),
as amended.

“Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware, or any other court having jurisdiction over the Bankruptcy Case from time to time, including,
without limitation, the United States District Court for the District of Delaware if and to the extent it
withdraws the reference with respect to the Bankruptcy Case, any part thereof, or any matter or
proceeding therein.

“Base Rate” means, for any day, a per annum rate equal to the greatest of (a) the Prime
Rate for such day; (b) the Federal Funds Rate for such day, plLs 0.50%; and (c) LIBOR for a 30-day
interest period as determined on such day.

“Business Day” means any day that is not a Saturday, Sunday, or a day on which banks
in New York, New York or Charlotte, North Carolina are required or permitted to be closed.

“Capital Adequacy Regulation” means any guideline, request or directive of any central
bank or other Governmental Authority, or any other law, rule or regulation, whether or not having the
force of law, in each case, regarding capital adequacy of any bank or of any corporation controlling a
bank.

“Cash Collateral Accounts” means, collectively, the L/C Cash Collateral Account, the
F/X Hedge Cash Collateral Account and the Commodity Hedge Cash Collateral Account.

“Cash Eguivalents” means (a) direct obligations of, or obligations guaranteed by, the
United States of America or any agency thereof, (b) commercial paper issued in the United States of
America and rated at least A-l or P-l by at least one nationally recognized rating organization and money
market funds rated at least AAA, Aaa or other equivalent of highest rating by at least one nationally
recognized rating organization, (c) certificates of deposit issued by or eurodollar deposits made with any
Letter of Credit Issuer, any Affiliate of any Letter of Credit Issuer, or any bank or trust company which
has (or the parent of which has) capital, surplus and undivided profits aggregating at least $100,000,000
(or the equivalent amount in another currency), (d) drafts accepted by any bank or trust company referred
to in clause (c) above or any other negotiable instrument guaranteed or endorsed with full recourse by any
such bank or trust company, (e) repurchase agreements with respect to any of the foregoing types of
securities described in clauses (a) and (b) above, and (f) investments in money market funds substantially
all of whose assets are comprised of securities of the types described in clause (a) through (e) above;
provided that (i) each such obligation, certificate of deposit, draft, investment, security and instrument
(including those subject to repurchase agreements) matures within one year after it is acquired and (ii)
each item of such commercial paper (including those subject to repurchase agreements) matures within
ninety (90) days after it is acquired by the applicable Account Party or any Other Subsidiary.

Cl~l\ll35197.l3 029123-0013

"1 ~'.~1::":,~_~.:,:~.-.'rm-r'.'.:: x:;m-:»;'T;:r x

 

“Closing Date” means the date of this Agreement.
“Code” means the lnternal Revenue Code of 1986.
“Committee” means any official committee(s) appointed in the Bankruptcy Case,

“Commitment” means, at any time with respect to a Letter of Credit Issuer, the amount
set forth beside such Letter of Credit Issuer’s name under the heading “Commitment” on Schedule 1.1
attached to the Agreement or on the signature page of the Assignment and Acceptance pursuant to which
such Letter of Credit Issuer became a Letter of Credit Issuer hereunder in accordance with the provisions
of Section 11.2, as such Commitment may be adjusted from time to time in accordance with the
provisions of Section 11.2, and “Commitments” means, collectively, the aggregate amount of the
commitments of all of the Letter of Credit Issuers,

“Commoditv Hedge Cash Collateral Account” means a cash collateral account with the
Bank securing the Commodity Hedge Obligations under the sole dominion and control of the Agent, for
the ratable benefit of the Agent and the holders of the Commodity Hedge Obligations (and, subject to
Section 3.3(b), for the benefit of the holders of the L/C Obligations and the F/X Hedge Obligations)
pursuant to a control agreement in form and substance satisfactory to the Agent.

“Commoditv Hedge Obligations” means the obligations arising under the Swap
Documents in connection with any transactions, agreements or documents thereunder that provide for
commodity, cap, floor, or collar transactions (or any combination thereof) related to or for the purpose of
hedging exposure to, fluctuations in commodity prices.

“Company” means W. R. Grace & Co., a Delaware corporation and the sole parent
company of the Account Party.

“Default” means any event or circumstance which, with the giving of notice, the lapse of
time, or both, would (if not cured, waived, or otherwise remedied during such time) constitute an Event of
Default.

“Default Rate” means a per annum interest rate at all times equal to the sum of (a) the
otherwise applicable interest rate pursuant to Section 2.1ga1 plus (b) two percent (2%) per annum.

“Dollar” and “§” means the lawful currency of the United States. Unless otherwise
specified, all payments under the Agreement shall be made in Dollars.

“Eligible Assigpee” means (a) a commercial bank, commercial finance company or other
asset based lender, having total assets in excess of $1,000,000,000; (b) any Letter of Credit Issuer listed
on the signature page of this Agreement; (c) any Affiliate of any Letter of Credit Issuer; and (d) if an
Event of Default has occurred and is continuing, any Person reasonably acceptable to the Agent.

“Environmental Laws” means all federal, state or local laws, statutes, common law
duties, rules, regulations, ordinances and codes, together with all administrative orders, directed duties,
licenses, authorizations and permits of, and agreements with, any Governmental Authority, in each case
relating to environmental, health, safety and land use matters.

“ERISA” means the Employee Retirement Income Security Act of 1974, as amended and
regulations promulgated thereunder.

CH\1135197.13 029123-0013

 

“ERISA Affiliate” means any trade or business (whether or not incorporated) under
common control with the Account Party within the meaning of Section 414(b) or (c) of the Code (and
Sections 414(m) and (o) of the Code for purposes of provisions relating to Section 412 of the Code).

“ERISA Event” means (a) a Reportable Event with respect to a Pension Plan, (b) a
withdrawal by the Account Party or any ERISA Affiliate from a Pension Plan subject to Section 4063 of
ERISA during a plan year in which it was a substantial employer (as defined in Section 4001(a)(2) of
ERISA) or a cessation of operations which is treated as such a withdrawal under Section 4062(e) of
ERISA, (c) a complete or partial withdrawal by the Account Party or any ERISA Affiliate from a Multi-
employer Plan or notification that a Multi-employer Plan is in reorganization, (d) the filing of a notice of
intent to terminate, the treatment of a Plan amendment as a termination under Section 4041 or 4041A of
ERISA, or the commencement of proceedings by the PBGC to terminate a Pension Plan or Multi-
employer Plan, (e) the occurrence of an event (other than the act of the filing of the Bankruptcy Case)
which might reasonably be expected to constitute grounds under Section 4042 of ERISA for the
termination of, or the appointment of a trustee to administer, any Pension Plan or Multi-employer Plan, or
(f`) the imposition of any liability under Title IV of ERISA, other than for PBGC premiums due but not
delinquent under Section 4007 of ERISA, upon the Account Party or any ERISA Affiliate.

“Event of Default” has the meaning specified in Section 9.1.

“Exchange Act” means the Securities Exchange Act of 1934, and regulations
promulgated thereunder.

“Existing Letters of Credit” means the letters of credit identified on Exhibit C.

“ acility Fee” has the meaning specified in Section 2.3§b).
“ acili'g[ Order” has the meaning specified in Section 8.1§i1.

“Federal Funds Rate” means, for any day, the rate per annum (rounded upwards, if
necessary, to the nearest 1/ 100 of 1%) equal to the weighted average of the rates on overnight Federal
funds transactions with members of the Federal Reserve System arranged by Federal funds brokers on
such day, as published by the F ederal Reserve Bank of New York on the Business Day next succeeding
such day; provided that (a) if such day is not a Business Day, the F ederal Funds Rate for such day shall be
such rate on such transactions on the next preceding Business Day as so published on the next succeeding
Business Day, and (b) if no such rate is so published on such next succeeding Business Day, the Federal
Funds Rate for such day shall be the average rate charged to the Bank on such day on such transactions as
determined by the Agent.

“Federal Reserve Board” means the Board of Governors of the Federal Reserve System
or any successor thereto.

“Financial Statements” means, according to the context in which it is used, the financial
statements referred to in Section 5.1 or any other financial statements required to be given to the Letter of
Credit Issuers pursuant to this Agreement.

“Fiscal Year” means the Account Party fiscal year for financial accounting purposes.
The current Fiscal Year of the Account Party will end on December 31, 2010.

“F/X Hedge Cash Collateral Account” means a cash collateral account with the Bank
securing the F/X Hedge Obligations under the sole dominion and control of the Agent, for the ratable

CH\1135197.13 029123-0013

1~.~.:*-11.': v-r.'.~:.::rr~.z:rs:m-T:-. --:-_r~

 

benefit of the Agent and the holders of the F/X Hedge Obligations (and, subject to Section 3.3(b), for the
benefit of the holders of the L/C Obligations and the Commodity Hedge Obligations) pursuant to a
control agreement in form and substance satisfactory to the Agent.

“F/X Hedge Obligations” means the obligations arising under the Swap Documents in
connection with any transactions, agreements or documents thereunder that provide for forward foreign
exchange transactions, currency swaps or currency options (or any combination of the foregoing) related
to or for the purpose of hedging exposure to, fluctuations in exchange rates or currency valuations.

“GAAP” means generally accepted accounting principles and practices set forth from
time to time in the opinions and pronouncements of the Accounting Principles Board and the American
Institute of Certified Public Accountants and statements and pronouncements of the Financial Accounting
Standards Board (or agencies with similar functions of comparable stature and authority within the U.S.
accounting profession).

“Governmental Authority” means any nation or government, any state or other political
subdivision thereof, any central bank (or similar monetary or regulatory authority) thereof, any entity
exercising executive, legislative, judicial, regulatory or administrative functions of or pertaining to
government, and any corporation or other entity owned or controlled, through stock or capital ownership
or otherwise, by any of the foregoing

“Hedge Agreemen ” means, with respect to any Person, any and all transactions,
agreements or documents now existing or hereafter entered into, that provide for an interest rate, credit,
commodity or equity swap, cap, floor, collar, forward foreign exchange transaction, currency swap, cross
currency rate swap, currency option, or any combination of, or option with respect to, these or similar
transactions, for the purpose of hedging any Person’s exposure to fluctuations in interest or exchange
rates, loan, credit exchange, security or currency valuations or commodity prices.

“[R_S” means the Internal Revenue Service and any Governmental Authority succeeding
to any of its principal functions under the Code,

“L/C Cash Collateral Account” means a cash collateral account with the Bank securing
the L/C Obligations under the sole dominion and control of the Agent, for the ratable benefit of the Agent
and the Letter of Credit Issuers (and, subject to Section 3.3§b), for the benefit of the holders of the F/X
Hedge Obligations and the Commodity Hedge Obligations) pursuant to a control agreement in form and
substance satisfactory to the Agent.

 

“L/C Cash Collateral Account Balance” means, at any time, the aggregate amount on
deposit in the Cash Collateral Account at such time,

“L/C Obligations” means, collectively, the obligations of the Account Party arising under
this Agreement and each of the other Letter of Credit Documents.

“Letter of Credit” has the meaning specified in Section 1.2§ a).

“Letter of Credit Documents” means this Agreement, each control agreement entered into
pursuant hereto, the Facility Order and any other agreements, instruments, and documents heretofore,
now or hereafter evidencing, guaranteeing or otherwise relating to the Obligations or any other aspect of

the transactions contemplated by this Agreement.

“Letter of Credit Fee” has the meaning specified in Section 2.5.

CH\ll35197.l3 029123-0013

_.:rm::~:~r::c~» 1 1

 

 

 

“Letter of Credit Issuer” means the Bank, any affiliate of the Bank or any other financial
institution that issues any Letter of Credit pursuant to this Agreement; provided however that the Agent
shall not cause any Letter of Credit to be issued by a Person which is not a Letter of Credit Issuer and
which is not reasonably acceptable to the Account Party.

“LIBOR” means, for any date of determination, the per annum rate of interest (rounded
up, if necessary, to the nearest l/8th of 1%), determined by the Agent at approximately 11:00 a.m.
(London time) two Business Days prior to such date of determination equal to the greater of (a) 1.00%
per annum and (b)(i) the British Bankers Association LlBOR Rate (“BBA L[BOR”), as published by
Reuters (or other commercially available source designated by the Agent); or (ii) if BBA L[BOR is not
available for any reason, the per annum interest rate at which Dollar deposits would be offered by the
Bank’s London branch to maj or banks in the London interbank eurodollar market. If the Federal Reserve
Board imposes a Reserve Percentage with respect to L[BOR deposits, then LIBOR shall be the foregoing
rate, divided by l, minus the Reserve Percentage.

“@” means: (a) any interest in property securing an obligation owed to, or a claim by,
a Person other than the owner of the property, whether such interest is based on the common law, statute,
or contract, and including a security interest, charge, claim, or lien arising from a mortgage, deed of trust,
encumbrance, pledge, hypothecation, assignment, deposit arrangement, agreement, security agreement,
conditional sale or trust receipt or a lease, consignment or bailment for security purposes; (b) to the extent
not included under clause §a), any reservation, exception, encroachment, easement, right-of-way,
covenant, condition, restriction, lease or other title exception or encumbrance affecting property; and (c)
any contingent or other agreement to provide any of the foregoing

“Maioritv Letter of Credit Issuers” means at any date of determination Letter of Credit
Issuers whose Pro Rata Shares aggregate more than 50%.

 

“Margin Stoc ” means “margin stock” as such term is defined in Regulation T, U or X
of the Federal Reserve Board.

“Material Adverse Effect” means (a) a material adverse change in, or a material adverse
effect upon, the operations, business, properties, condition (financial or otherwise) of the Account Party
and its Subsidiaries taken as a whole; (b) a material impairment of the Account Party’s ability to pay any
of the Obligations or pay or perform any of its other obligations in accordance with the terms of this
Agreement or any other Letter of Credit Document; (c) a material adverse effect upon the legality,
validity, binding effect or enforceability against the Account Party of any Letter of Credit Document to
which it is a party; or (d) a material impairment of the validity, extent or priority of the Agent’s Liens on
the Cash Collateral Accounts and the amounts on deposit therein or credit thereto.

“Multi-employer Plan” means a “multi-employer plan” as defined in Section 4001(a)(3)
of ERlSA which is or was at any time during the current year or the immediately preceding six (6) years
contributed to by the Account Party or any ERISA Affiliate.

“Obligations” means all present and future liabilities, obligations, covenants, duties, and
debts owing by the Account Party to the Agent, any Letter of Credit Issuer, the Bank or any Affiliate of
the Bank, arising under or pursuant to this Agreement, any of the other Letter of Credit Documents or any
of the Swap Documents, whether or not evidenced by any note, or other instrument or document, whether
arising from an extension of credit, opening of a letter of credit, acceptance, loan, guaranty,
indemnification or otherwise, whether direct or indirect, absolute or contingent, due or to become due,
primary or secondary, as principal or guarantor, and including all principal, interest, charges, expenses,
fees, attorneys’ fees, filing fees and any other sums chargeable to the Account Party hereunder or under

CH\1135197.13 029123-0013

 

l
t
.L:

 

any of the other Letter of Credit Documents. “Obligations” includes, without limitation, (a) all debts,
liabilities, and obligations now or hereafter arising from or in connection with the Letters of Credit and
(b) all debts, liabilities and obligations now or hereafter arising from or in connection with the Swap
Documents,

“Other Subsidiag” means any Subsidiary of the Company other than the Account Party.

“Other Taxes” means any present or future stamp or documentary taxes or any other
excise or property taxes, charges or similar levies which arise from any payment made hereunder or from
the execution, delivery or registration of, or otherwise with respect to, this Agreement or any other Letter
of Credit Documents.

“PBGC” means the Pension Benefit Guaranty Corporation or any Governmental
Authority succeeding to the functions thereof,

“Pension Plan” means a pension plan (as defined in Section 3(2) of ERISA) subject to
Title IV of ERISA and Code Section 412 which the Account Party or ERISA Affiliate of the Account
Party sponsors or maintains.

“Person” means any individual, sole proprietorship, partnership, limited liability
company, joint venture, trust, unincorporated organization, association, corporation, Governmental
Authority, or any other entity.

“Petition Date” means Apri12, 2001.

“M” means an employee benefit plan (as defined in Section 3(3) of ERISA) which the
Account Party or any ERISA Affiliate of Account Party sponsors or maintains or to which the Account
Party or any ERISA Affiliate of Account Party makes, is making, or is obligated to make contributions
and includes any Pension Plan and Multi-employer Plan.

“Prime Rate” means the rate of interest announced by the Bank from time to time as its
prime rate. Such rate is set by the Bank on the basis of various factors, including its costs and desired
return, general economic conditions and other factors, and is used as a reference point for pricing some
loans, which may be priced at, above or below such rate. Any change in such rate announced by the Bank
shall take effect at the opening of business on the day specified in the public announcement of such
change.

“Pro Rata Share” means, with respect to a Letter of Credit Issuer, a fraction (expressed as
a percentage), the numerator of which is the amount of such Letter of Credit Issuer’s Commitment and the
denominator of which is the sum of the amounts of all of the Letter of Credit Issuers’ Commitments, or if
no Commitments are outstanding, a fraction (expressed as a percentage), the numerator of which is the
amount of Obligations owed to such Letter of Credit Issuer and the denominator of which is the aggregate
amount of the Obligations owed to the Letter of Credit Issuers,

“Reportable Event” means, any of the events set forth in Section 4043 (c) of ERISA or the
regulations thereunder, other than any such event for which the 30-day notice requirement under ERISA
has been waived in regulations issued by the PBGC.

“Reguirement of Law” means, as to any Person, any law (statutory or common), treaty,
rule or regulation or determination of an arbitrator or of a Governmental Authority, in each case

CH\1135197.13 029123-0013

 

 

applicable to or binding upon the Person or any of its property or to which the Person or any of its
property is subject.

“Reserve Percentage” the reserve percentage (expressed as a decimal, rounded up to the
nearest 1/8th of 1%) applicable to member banks under regulations issued from time to time by the
Federal Reserve Board for determining the maximum reserve requirement (including any emergency,
supplemental or other marginal reserve requirement) with respect to eurocurrency funding.

“Responsible Officer” means the chief executive officer, chief financial officer, any vice
president or the president of the Company, or any other officer having substantially the same authority
and responsibility; or, with respect to compliance with financial covenants and the preparation of the
Borrowing Base Certificate, the chief financial officer or an assistant treasurer of the Company, or any
other officer having substantially the same authority and responsibility.

“Stated Terrnination Date” means | l‘, 2011.

“Subsidiag” of a Person means any corporation, association, partnership, limited liability
company, joint venture or other business entity of which more than fifty percent (50%) of the voting stock
or other equity interests (in the case of Persons other than corporations), is owned or controlled directly or
indirectly by the Person, or one or more of the Subsidiaries of the Person, or a combination thereof.
Unless the context otherwise clearly requires, references herein to a “Subsidiary” refer to a Subsidiary of
the Company.

“Swap Documents” means, collectively, that certain ISDA Master Agreement, dated as of

, 2010, between the Account Party and the Bank, together with the Schedule thereto, each Annex

to such Schedule, each Confirmation thereunder and each other document or instrument issued pursuant
thereto or in connection therewith.

“Taxes” means any and all present or future taxes, levies, imposts, deductions, charges or
withholdings, and all liabilities with respect thereto, excluding, in the case of each Letter of Credit Issuer
and the Agent, such taxes (including income taxes or franchise taxes) as are imposed on or measured by
the Agent’s or each Letter of Credit Issuer’s net income in any jurisdiction (whether federal, state or local
and including any political subdivision thereof`) under the laws of which such Letter of Credit Issuer or
the Agent, as the case may be, is organized or maintains a lending office.

“Termination Date” means the earliest to occur of (i) the Stated Terrnination Date, (ii) the
date the Total Facility is terminated either by the Account Party pursuant to Section 3 .1 or by the Majority
Letter of Credit Issuers pursuant to Section 9.2, (iii) the date this Agreement is otherwise terminated for
any reason whatsoever pursuant to the terms of this Agreement and (iv) the Effective Date (as such term
will be defined in the approved plan of reorganization in the Bankruptcy Case).

“Total Facilig” has the meaning specified in Section 1.1.

“UCC” means the Uniform Commercial Code, as in effect from time to time, of the State
of New York or of any other state the laws of which are required as a result thereof to be applied in
connection with the issue of perfection of security interests.

“Unfunded Pension Liabilitv” means the excess of a Pension Plan’s benefit liabilities
under Section 4001(a)(16) of ERISA, over the current value of that Pension Plan’s assets, determined in

 

' T his will be the date that is 365 days after the Closing Date.

8
CH\1135197.13 029123-0013

 

 

accordance with the assumptions used under Section 412(c) of the Code for determining whether the
Pension Plan meets the minimum funding standards of Section 412 of the Code for the applicable plan
year.

“Unused Letter of Credit Amount” means an amount equal to $100,000,000 minus the
sum of (a) the aggregate undrawn amount of all outstanding Letters of Credit, pl_us, without duplication,
(b) the aggregate unpaid reimbursement obligations due with respect to all Letters of Credit.

 

“Unused Line Fee” has the meaning specified in Section 2.4.

Accounting Terms. Any accounting term used in the Agreement shall have, unless
otherwise specifically provided herein, the meaning customarily given in accordance with GAAP, and all
financial computations hereunder shall be computed, unless otherwise specifically provided herein, in
accordance with GAAP as consistently applied and using the same method for inventory valuation as
used in the preparation of the Financial Statements. If any change in generally accepted accounting
principles subsequent to the date of this Agreement is material to either the Account Party or the Letter of
Credit Issuers for the purpose of determining the Account Party’ compliance with any covenant contained
in this Agreement, then (A) such change shall not, without the consent of the Majority Letter of Credit
Issuers, if such change makes such covenant less restrictive, or the Account Party, if such change makes
such covenant more restrictive, be effective for the calculation of such covenant unless and until an
amendment pursuant to clause (B) below with respect to such change and such covenant becomes
effective, and (B) the Account Party and the Agent and the Letter of Credit Issuers agree to enter into
negotiations, at the request of the Account Party or the Representative Letter of Credit Issuers, in order to
amend such covenant so as equitably to reflect such change with the desired result that the criteria for
evaluating the consolidated financial condition of the Company and its consolidated Subsidiaries shall be
the same after such change as before such change.

Inte§pretive Provisions. (a) The meanings of defined terms are equally applicable to the
singular and plural forms of the defined terms.

(b) The words “hereof,” “herein,” “hereunder” and similar words refer to the
Agreement as a whole and not to any particular provision of this Agreement; and Subsection, Section,
Schedule and Exhibit references are to this Agreement unless otherwise specified.

(c) (i) The term “documents” includes any and all instruments, documents,
agreements, certificates, indentures, notices and other writings, however evidenced.

(ii) The term “including” is not limiting and means “including without
limitation.”

(iii) In the computation of periods of time from a specified date to a later
specified date, the word “from” means “from and including,” the words “to” and “until” each
mean “to but excluding” and the word “through” means “to and including.”

(iv) The word “or” is not exclusive.
(d) Unless otherwise expressly provided herein, (i) references to agreements
(including this Agreement) and other contractual instruments shall be deemed to include all subsequent

amendments and other modifications thereto, but only to the extent such amendments and other
modifications are not prohibited by the terms of any Letter of Credit Document, and (ii) references to any

CH\1135197.13 029123-0013

 

statute or regulation are to be construed as including all statutory and regulatory provisions consolidating,
amending, replacing, supplementing or interpreting the statute or regulation.

(e) The captions and headings of the Agreement and other Letter of Credit
Documents are for convenience of reference only and shall not affect the interpretation of this Agreement.

(f) The Agreement and other Letter of Credit Documents may use several different
limitations, tests or measurements to regulate the same or similar matters. All such limitations, tests and
measurements are cumulative and shall each be performed in accordance with their terms.

(g) The Agreement and the other Letter of Credit Documents are the result of
negotiations among and have been reviewed by counsel to the Agent, the Account Party and the other
parties, and are the products of all parties. Accordingly, they shall not be construed against the Letter of
Credit Issuers or the Agent merely because of the Agent’s or Letter of Credit Issuers’ involvement in their
preparation.

10
CH\1135197.13 029123-0013

1 1. -- 1-1 4-:1.*1~ v.~_.-,r»`~r--~.:-A.rv~“

 

EXHIBIT B
FORM OF ASSIGNMEN'I` AND ACCEPTANCE AGREEMENT

This ASSIGNMENT AND ACCEPTANCE AGREEMENT (this “Assigpment and

 

 

Acceptance”) dated as of , 201__ is made between
(the “Assigpor”) and (the
“Assignee”).
M

WHEREAS, the Assignor is party to that certain Post-Petition Letter of Credit Facility
Agreement dated as of | |, 2010 (as amended, amended and restated, modified, supplemented or
renewed, the “Agreemen ”) among W. R. Grace & Co., a Delaware corporation (the “Company”), and
certain Subsidiaries of the Company which are signatory thereto (together with the Company, each a
“Account Pagy” and collectively “Account Par_ty”), the several financial institutions from time to time
party thereto (including the Assignor, the “Letter of Credit Issuers”), and Bank of America, N. A., as
agent for the Letter of Credit Issuers (the “Agent”). Any terms defined in the Agreement and not defined
in this Assignment and Acceptance are used herein as defined in the Agreement;

WHEREAS, as provided under the Agreement, the Assignor has committed to issuing
letters of credit for the account of the Account Party in an aggregate amount not to exceed $
(the “Commitment”); and

WHEREAS, the Assignor wishes to assign to the Assignee [part of the] [all] rights and
obligations of the Assignor under the Agreement in respect of its Commitment in an amount equal to
$ (the “Assigned Amount”) on the terms and subject to the conditions set forth herein and the
Assignee wishes to accept assignment of such rights and to assume such obligations from the Assignor on
such terms and subject to such conditions;

NOW, TI-[EREFORE, in consideration of the foregoing and the mutual agreements
contained herein, the parties hereto agree as follows:

l. Assignment and Acceptance.

(a) Subject to the terms and conditions of this Assignment and Acceptance, (i) the
Assignor hereby sells, transfers and assigns to the Assignee, and (ii) the Assignee hereby purchases,
assumes and undertakes from the Assignor, without recourse and without representation or warranty
(except as provided in this Assignment and Acceptance) _% (the “Assignee’s Percentage Share”) of
(A) the Commitment of the Assignor and (B) all related rights, benefits, obligations, liabilities and
indemnities of the Assignor under and in connection with the Agreement and the Letter of Credit
Documents.

(b) With effect on and after the Effective Date (as defined in Section 5 hereof), the
Assignee shall be a party to the Agreement and succeed to all of the rights and be obligated to perform all
of the obligations of a Letter of Credit Issuer under the Agreement, including the requirements concerning
confidentiality and the payment of indemnification, with a Commitment in an amount equal to the
Assigned Amount. The Assignee agrees that it will perform in accordance with their terms all of the
obligations which by the terms of the Agreement are required to be performed by it as a Letter of Credit
Issuer. lt is the intent of the parties hereto that the Commitment of the Assignor shall, as of the Effective
Date, be reduced by an amount equal to the Assigned Amount and the Assignor shall relinquish its rights

CH\1135197.13 029123-0013

l§
f
l:
e.

 

 

and be released from its obligations under the Agreement to the extent such obligations have been
assumed by the Assignee; provided, however, the Assignor shall not relinquish its rights under Sections
_ and __ of the Agreement to the extent such rights relate to the time prior to the Effective Date.

 

(c) After giving effect to the assignment and assumption set forth herein, on the
Effective Date the Assignee’s Commitment will be $

(d) After giving effect to the assignment and assumption set forth herein, on the
Effective Date the Assignor’s Commitment will be $

2. Payments.

The Assignee agrees to pay to the Agent a processing fee in the amount specified in
Section 11.2( al of the Agreement.

3. Reallocation of Payments.

Any fees and other payments accrued to the Effective Date with respect to the
Commitment shall be for the account of the Assignor. Any fees and other payments accrued on and after
the Effective Date with respect to the Assigned Amount shall be for the account of the Assignee, Each of
the Assignor and the Assignee agrees that it will hold in trust for the other party any interest, fees and
other amounts which it may receive to which the other party is entitled pursuant to the preceding sentence
and pay to the other party any such amounts which it may receive promptly upon receipt.

4. Independent Credit Decision.

 

The Assignee (a) acknowledges that it has received a copy of the Agreement and the
Schedules and Exhibits thereto, together with copies of the most recent financial statements of the
Company and its Subsidiaries, all applicable materials filed with the Bankruptcy Court and all applicable
orders relating to the Bankruptcy Case as it has deemed appropriate, and such other documents and
information as it has deemed appropriate to make its own credit and legal analysis and decision to enter
into this Assignment and Acceptanoe; and (b) agrees that it will, independently and without reliance upon
the Assignor, the Agent or any other Letter of Credit Issuer and based on such documents and information
as it shall deem appropriate at the time, continue to make its own credit and legal decisions in taking or
not taking action under the Agreement.

5. Effective Date' Notices.

 

(a) As between the Assignor and the Assignee, the effective date for this Assignment
and Acceptance shall be , 200__ (the “Effective Date”); provided that the following conditions
precedent have been satisfied on or before the Effective Date:

(i) this Assignment and Acceptance shall be executed and delivered by the
Assignor and the Assignee;

[(ii) the consent of the Agent required for an effective assignment of the
Assigned Amount by the Assignor to the Assignee shall have been duly obtained and shall be in
full force and effect as of the Effective Date;]

(iii) the Assignee shall pay to the Assignor all amounts due to the Assignor
under this Assignment and Acceptance;

CH\1135197.13 029123-0013

1,1»1'111* '.-'*..‘r:r~.#:~r.~m:m.-.-:.-Trrr;i\-v~ 1

 

[(iv) the Assignee shall have complied with Section 11.2 of the Agreement (if
applicable);]

(v) the processing fee referred to in Section 2§b1 hereof and in Section
1 l.2§al of the Agreement shall have been paid to the Agent; and

(b) Promptly following the execution of this Assignment and Acceptance, the
Assignor shall deliver to the Account Party and the Agent for acknowledgment by the Agent, a Notice of
Assignment in the form attached hereto as Schedule 1.

6. [Agent. [INCLUDE ONLY IF ASSIGNOR IS AGENT]

(a) The Assignee hereby appoints and authorizes the Assignor to take such action as
agent on its behalf and to exercise such powers under the Agreement as are delegated to the Agent by the
Letter of Credit Issuers pursuant to the terms of the Agreement.

(b) The Assignee shall assume no duties or obligations held by the Assignor in its
capacity as Agent under the Agreement.]

7. Withholding Tax.

The Assignee (a) represents and warrants to the Letter of Credit Issuer, the Agent and the
Account Party that under applicable law and treaties no tax will be required to be withheld by the Letter
of Credit Issuer with respect to any payments to be made to the Assignee hereunder, (b) agrees to furnish
(if it is organized under the laws of any jurisdiction other than the United States or any State thereof) to
the Agent and the Account Party prior to the time that the Agent or Account Party is required to make any
payment of principal, interest or fees hereunder, duplicate executed originals of either U.S. Internal
Revenue Service Form W-8ECI or U.S. Internal Revenue Service Form W-8BEN (wherein the Assignee
claims entitlement to the benefits of a tax treaty that provides for a complete exemption from U.S. federal
income withholding tax on all payments hereunder) and agrees to provide new Forms W-8ECI or W-
8BEN upon the expiration of any previously delivered form or comparable statements in accordance with
applicable U.S. law and regulations and amendments thereto, duly executed and completed by the
Assignee, and (c) agrees to comply with all applicable U.S. laws and regulations with regard to such
withholding tax exemption.

8. Representations and Warranties.

(a) The Assignor represents and warrants that (i) it is the legal and beneficial owner
of the interest being assigned by it hereunder and that such interest is free and clear of any Lien or other
adverse claim; (ii) it is duly organized and existing and it has the full power and authority to take, and has
taken, all action necessary to execute and deliver this Assignment and Acceptance and any other
documents required or permitted to be executed or delivered by it in connection with this Assignment and
Acceptance and to fulfill its obligations hereunder; (iii) no notices to, or consents, authorizations or
approvals of, any Person are required (other than any already given or obtained) for its due execution,
delivery and performance of this Assignment and Acceptance, and apart from any agreements or
undertakings or filings required by the Agreement, no further action by, or notice to, or filing with, any
Person is required of it for such execution, delivery or performance; and (iv) this Assignment and
Acceptance has been duly executed and delivered by it and constitutes the legal, valid and binding
obligation of the Assignor, enforceable against the Assignor in accordance with the terms hereof, subject,
as to enforcement, to bankruptcy, insolvency, moratorium, reorganization and other laws of general
application relating to or affecting creditors’ rights and to general equitable principles.

CH\1135197.13 029123-0013

,..mu.z,c, ..,.

 

(b) The Assignor makes no representation or warranty and assumes no responsibility
with respect to any statements, warranties or representations made in or in connection with the Agreement
or the execution, legality, validity, enforceability, genuineness, sufficiency or value of the Agreement or
any other instrument or document furnished pursuant thereto. The Assignor makes no representation or
warranty in connection with, and assumes no responsibility with respect to, the solvency, financial
condition or statements of the Account Party, or the performance or observance by the Account Party, of
any of its respective obligations under the Agreement or any other instrument or document furnished in
connection therewith.

(c) The Assignee represents and warrants that (i) it is duly organized and existing
and it has full power and authority to take, and has taken, all action necessary to execute and deliver this
Assignment and Acceptance and any other documents required or permitted to be executed or delivered
by it in connection with this Assignment and Acceptance, and to fulfill its obligations hereunder; (ii) no
notices to, or consents, authorizations or approvals of, any Person are required (other than any already
given or obtained) for its due execution, delivery and performance of this Assignment and Acceptance;
and apart from any agreements or undertakings or filings required by the Agreement, no further action by,
or notice to, or filing with, any Person is required of it for such execution, delivery or performance;
(iii) this Assignment and Acceptance has been duly executed and delivered by it and constitutes the legal,
valid and binding obligation of the Assignee, enforceable against the Assignee in accordance with the
terms hereof, subject, as to enforcement, to bankruptcy, insolvency, moratorium, reorganization and other
laws of general application relating to or affecting creditors’ rights and to general equitable principles;
[and (iv) it is an Eligible Assignee.]

9. Further Assurances.

The Assignor and the Assignee each hereby agree to execute and deliver such other
instruments, and take such other action, as either party may reasonably request in connection with the
transactions contemplated by this Assignment and Acceptance, including the delivery of any notices or
other documents or instruments to the Account Party or the Agent, which may be required in connection
with the assignment and assumption contemplated hereby.

10. Miscellaneous.

(a) Any amendment or waiver of any provision of this Assignment and Acceptance
shall be in writing and signed by the parties hereto. No failure or delay by either party hereto in
exercising any right, power or privilege hereunder shall operate as a waiver thereof and any waiver of any
breach of` the provisions of this Assignment and Acceptance shall be without prejudice to any rights with
respect to any other or further breach thereof.

(b) All payments made hereunder shall be made without any set-off or counterclaim.

(c) The Assignor and the Assignee shall each pay its own costs and expenses
incurred in connection with the negotiation, preparation, execution and performance of this Assignment
and Acceptance.

(d) This Assignment and Acceptance may be executed in any number of counterparts
and all of such counterparts taken together shall be deemed to constitute one and the same instrument.

(e) THIS ASSIGNMENT AND ACCEPTANCE SHALL BE GOVERNED BY
AND CONSTRUED IN ACCORDANCE WITH THE LAW OF THE STATE OF NEW YORK. The
Assignor and the Assignee each irrevocably submits to the non-exclusive jurisdiction of any State or

CH\1135197.13 029123-0013

 

 

Federal court sitting in [New York, New York] over any suit, action or proceeding arising out of or
relating to this Assignment and Acceptance and irrevocably agrees that all claims in respect of such action
or proceeding may be heard and determined in such State or Federal court. Each party to this Assignment
and Acceptance hereby irrevocably waives, to the fullest extent it may effectively do so, the defense of an
inconvenient forum to the maintenance of such action or proceeding.

(f) THE ASSIGNOR AND THE ASSIGNEE EACH HEREBY KNOWINGLY,
VOLUNTARILY AND INTENTIONALLY WAIVE ANY RIGHTS Tl-[EY MAY HAVE TO A TRIAL
BY JURY IN RESPECT OF ANY LITIGATION BASED HEREON, OR ARISING OUT OF, UNDER,
OR IN CONNECTION WITH THIS ASSIGNMENT AND ACCEPTANCE, THE CREDIT
AGREEMENT, ANY RELATED DOCUMENTS AND AGREEMENTS OR ANY COURSE OF
CONDUCT, COURSE OF DEALING, OR STATEMENTS (WHETI-[ER ORAL OR WRITTEN).

IN WITNESS WHEREOF, the Assignor and the Assignee have caused this Assignment
and Acceptance to be executed and delivered by their duly authorized officers as of the date first above
written.

[ASSIGNOR]
By:

Title:
Address:

 

 

 

[ASSIGNEE]

By:
Title:
Address:

 

 

 

CH\1135197.13 029123-0013

 

SCHEDULE 1
to
ASSIGNMENT AND ACCEPTANCE

NOTICE OF ASSIGNMENT AND ACCEPTANCE

200_

Bank of America, N.A.

 

 

Attn:

 

Re: [Name and Address of Account Party]
Ladies and Gentlemen:

We refer to the Post-Petition Letter of Credit Facility Agreement dated as of | |,
2010 (as amended, amended and restated, modified, supplemented or renewed from time to time the
“Agreemen ”) among W. R. Grace & Co. and certain of its Subsidiaries (collectively, the “Account
lh;ty”), the Letter of Credit Issuers referred to therein and Bank of America, N. A., as agent for the Letter
of Credit Issuers (the “Agent”). Terms defined in the Agreement are used herein as therein defined.

 

1. We hereby give you notice of, and request your consent to, the assignment by
(the “Assigpor”) to (the “Assignee”) of % of the right,

title and interest of the Assignor in and to the Agreement (including the right, title and interest of the
Assignor in and to the Commitments of the Assignor and all outstanding Letters of Credit) pursuant to the
Assignment and Acceptance Agreement attached hereto (the “Assigpment and Acceptance”). We
understand and agree that the Assignor’s Commitment, as of , 200_, is $ , the
aggregate amount of its outstanding reimbursement obligations with respect to Letters of Credit is

2. The Assignee agrees that, upon receiving the consent of the Agent to such
assignment, the Assignee will be bound by the terms of the Agreement as fully and to the same extent as
if the Assignee were the Letter of Credit Issuer originally holding such interest in the Agreement.

3. The following administrative details apply to the Assignee:
(A) Notice Address:

Assignee name:
Address:

 

 

 

Attention:

Telephone: ( )
Facsimile: ( )

 

CH\1135197.13 029123-0013

q .
»_»
i;
l';
,.
11
12
rt
1;
ll
ii
,

l

l

l

 

 

(B) Payment lnstructions:

Account No.:
At:

Reference:
Attention:

4. You are entitled to rely upon the representations, warranties and covenants of
each of the Assignor and Assignee contained in the Assignment and Acceptance,

IN WITNESS WI-IEREOF, the Assignor and the Assignee have caused this Notice of
Assignment and Acceptance to be executed by their respective duly authorized officials, officers or agents
as of the date first above mentioned.

Very truly yours,
[NAME OF ASSIGNOR]

By:

 

Title:

 

[NAME OF ASSIGNEE]

By:

 

Title:

 

ACKNOWLEDGED AND ASSIGNMENT
CONSENTED TO:

Bank of America, N. A.
as Agent

By:
Title:

 

 

CH\ll35197.13 029123-0013

 

CH\l 135197.13

Letter of Credit Issuer

Bank of America, N.A.

SCHEDULE 1.1

COMMITMENTS

M

$100,000,000

Pro Rata Share
(3 decimals)

100.000%

029123-0013

 

